                            Exhibit 1

                                   to

         Defendant Ascension Health's
              Motion to Dismiss




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Case 3:12-cv-00501 Document 34-1 Filed 06/18/13 Page 5 of 97 PageID #: 204
                            Exhibit A




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ï ±º ïï                    Ð¿¹»×Ü ï



                       ÌØÛ ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ
                     ÚÑÎ ÌØÛ ÉÛÍÌÛÎÒ Ü×ÍÌÎ×ÝÌ ÑÚ ÌÛÒÒÛÍÍÛÛ


ËÒ×ÌÛÜ ÍÌßÌÛÍ ÑÚ ßÓÛÎ×Ýß ÛÈ ÎÛÔò               ÷
ÍÌÛÐØÛÒ ÓÝÓËÔÔÛÒô                              ÷
                                               ÷
       Î»´¿¬±®ô                                ÷
                                               ÷
ª-ò                                            ÷          Ý¿-» Ò±òÁÁÁÁÁÁÁÁÁÁÁÁ
                                               ÷
Ý×ÙÒß ÙÑÊÛÎÒÓÛÒÌ ÍÛÎÊ×ÝÛÍô ÔÔÝòô               ÷          TO BE FILED IN CAMERA AND
                                               ÷          UNDER SEAL
       Ü»º»²¼¿²¬ò                              ÷
                                               ÷          Ð«®-«¿²¬ ¬± íï ËòÍòÝò § íéíðø¾÷øî÷
                                               ÷
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                                               ÷


                   RELATOR’S COMPLAINT FOR DAMAGES
             UNDER THE FALSE CLAIMS ACT, 31 U.S.C. § 3729, ET SEQ.


       Î»´¿¬±®ô Í¬»°¸»² Ó½Ó«´´»²ô º±® ¸·- ½¿«-» ±º ¿½¬·±² -¬¿¬»- ¿- º±´´±©- ¿¹¿·²-¬ Ü»º»²¼¿²¬

Ý×ÙÒß Ù±ª»®²³»²¬ Í»®ª·½»-ô ÔÔÝò

                                    CAUSE OF ACTION

       ïò     Ì¸·- ·- ¿² ¿½¬·±² ¬± ®»½±ª»® ¼¿³¿¹»- ¿²¼ ½·ª·´ °»²¿´¬·»- ±² ¾»¸¿´º ±º ¬¸» Ë²·¬»¼

Í¬¿¬»- ±º ß³»®·½¿ ¿®·-·²¹ ±«¬ ±º ¬¸» º¿´-» Ó»¼·½¿®» ½´¿·³- °¿·¼ ¾§ Ü»º»²¼¿²¬ º±® «²®»¿-±²¿¾´» ±®

«²²»½»--¿®§ ³»¼·½¿´ -»®ª·½»-ò Ì¸·- ·- ¿ ½¿«-» ±º ¿½¬·±² ¾®±«¹¸¬ ¾§ Î»´¿¬±® °«®-«¿²¬ ¬± íï ËòÍòÝò

§ íéîç ¿²¼ ¬¸» ¯«· ¬¿³ °®±ª·-·±²- ±º ¬¸¿¬ -¬¿¬«¬» º±«²¼ ¿¬ íï ËòÍòÝò §§ íéíð ¿²¼ íéíïò

       îò     íï ËòÍòÝò § íéíðø¾÷øî÷ °®±ª·¼»- ¬¸¿¬ •Å¬Ã¸» ½±³°´¿·²¬ -¸¿´´ ¾» º·´»¼ ·² ½¿³»®¿ô

-¸¿´´ ®»³¿·² «²¼»® -»¿´ º±® ¿¬ ´»¿-¬ êð ¼¿§-ô ¿²¼ -¸¿´´ ²±¬ ¾» -»®ª»¼ ±² ¬¸» ¼»º»²¼¿²¬ «²¬·´ ¬¸»

½±«®¬ -± ±®¼»®-ò Ì¸» Ù±ª»®²³»²¬ ³¿§ »´»½¬ ¬± ·²¬»®ª»²» ¿²¼ °®±½»»¼ ©·¬¸ ¬¸» ¿½¬·±² ©·¬¸·² êð




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» î ±º ïï                       Ð¿¹»×Ü î



¼¿§­ ¿º¬»® ·¬ ®»½»·ª»­ ¾±¬¸ ¬¸» ½±³°´¿·²¬ ¿²¼ ¬¸» ³¿¬»®·¿´ »ª·¼»²½» ¿²¼ ·²º±®³¿¬·±²ò Ð´¿·²¬·ºº ·­

º·´·²¹ ¬¸·- ³¿¬¬»® «²¼»® -»¿´ò

        íò      ß ½±°§ ±º ¬¸» »ª·¼»²¬·¿®§ ¼·-½´±-«®» ®»¯«·®»¼ ¾§ ¬¸» Ú¿´-» Ý´¿·³- ß½¬ ¸¿- ¿´®»¿¼§

¾»»² -»®ª»¼ ±² ¬¸» Ë²·¬»¼ Í¬¿¬»-ò

                                 JURISDICTION AND VENUE

        ìò      Ì¸·- Ý±«®¬ ¸¿- -«¾¶»½¬ ³¿¬¬»® ¶«®·-¼·½¬·±² ±ª»® ¬¸·- ³¿¬¬»® ¾»½¿«-» ¬¸» ½´¿·³ º±®

®»´·»º ¿®·-»- «²¼»® íï ËòÍòÝò y íéîçô »¬ -»¯ò Ê»²«» ·- °®±°»® ·² ¬¸·- ¼·-¬®·½¬ °«®-«¿²¬ ¬± íï ËòÍòÝò

§ íéíî ¾»½¿«-» Ü»º»²¼¿²¬- ¬®¿²-¿½¬ ¾«-·²»-- ·² ¬¸·- ¶«¼·½·¿´ ¼·-¬®·½¬ò

                                            PARTIES

        ëò      ß¬ ¿´´ ¬·³»­ ®»´»ª¿²¬ ¸»®»¬±ô Î»´¿¬±® Í¬»°¸»² Ó½Ó«´´»² øÎ»´¿¬±®÷ ©¿­ ¿ ½·¬·¦»²

¿²¼ ®»-·¼»²¬ ±º ¬¸» Í¬¿¬» ±º Ì»²²»--»» ¿²¼ ©¿- »³°´±§»¼ ¾§ Ó»³°¸·- Ø»¿®¬ Ø±-°·¬¿´ ·²

Ó»³°¸·-ô Ì»²²»--»»ò Î»´¿¬±® ¸¿- ©·¬²»--»¼ ¬¸» »ª»²¬- ¿- -»¬ º±®¬¸ ¸»®»·²ò Î»´¿¬±® ·- ½«®®»²¬´§ ¿

®»-·¼»²¬ ±º ¬¸» Í¬¿¬» ±º É¿-¸·²¹¬±²ò

        êò      Ü»º»²¼¿²¬ Ý×ÙÒß Ù±ª»®²³»²¬ Í»®ª·½»­ô ÔÔÝ øÝ×ÙÒß÷ ·­ ¿ º±®»·¹² ½±³°¿²§

¬¸¿¬ ³¿·²¬¿·²- ·¬- °®·²½·°¿´ °´¿½» ±º ¾«-·²»-- ¿¬ ï Ô·¾»®¬§ Ð´¿½»ô ïêëð Ó¿®µ»¬ Í¬òô Ð¸·´¿¼»´°¸·¿ô

Ðß ïçïçîóïëëðò Ý×ÙÒß ·­ ¿ ©¸±´´§ ±©²»¼ ­«¾­·¼·¿®§ ±º Ý×ÙÒß Ý±®°±®¿¬·±²  ±²» ±º ¬¸»

²¿¬·±²­ °®»³·»®» ¸»¿´¬¸ ·²­«®¿²½» ½±³°¿²·»­ò Í·²½» ïçêêô Ý×ÙÒß ¸¿­ ¿¼³·²·­¬»®»¼ ¬¸» º»¼»®¿´

Ó»¼·½¿®» °®±¹®¿³ò      Ì±¼¿§ô Ý×ÙÒß °®±ª·¼»- ¿ ª¿®·»¬§ ±º -»®ª·½»- º±® Ó»¼·½¿®» °®±ª·¼»®-ô

-«°°´·»®-ô ¿²¼ ¾»²»º·½·¿®·»- ·² ïè -¬¿¬»- ¿²¼ ¬¸» ËòÍò Ê·®¹·² ×-´¿²¼-ò ß- ¿ Ð¿®¬ Þ ½±²¬®¿½¬»¼

½¿®®·»® º±® ¬¸» Ý»²¬»®- º±® Ó»¼·½¿®» ú Ó»¼·½¿·¼ Í»®ª·½»- øÝÓÍ÷ô Ý×ÙÒß °®±½»--»- ¿²¼ °¿§-

Ó»¼·½¿®» ½´¿·³- ¿½½±®¼·²¹ ¬± ¬¸» º»¼»®¿´ ´¿©- ¿²¼ ÝÓÍ ®«´»- ¿²¼ ®»¹«´¿¬·±²-ò Ý×ÙÒß °®±ª·¼»-

Ó»¼·½¿®» ½´¿·³- °®±½»--·²¹ ¿²¼ -«°°±®¬ -»®ª·½»- º±® Ó»¼·½¿®» Ð¿®¬ Þ ·² Ì»²²»--»»ô Ò±®¬¸

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                                   BACKGROUND FACTS

        éò     Ð«®-«¿²¬ ¬± Ì·¬´» ÈÊ××× ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô yïèííø»÷ -¬¿¬»-ô •Ò± °¿§³»²¬

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º«®²·-¸»¼ -«½¸ ·²º±®³¿¬·±² ¿- ³¿§ ¾» ²»½»--¿®§ ·² ±®¼»® ¬± ¼»¬»®³·²» ¬¸» ¿³±«²¬- ¼«» -«½¸

°®±ª·¼»® ±® ±¬¸»® °»®-±² «²¼»® ¬¸·- °¿®¬ º±® ¬¸» °»®·±¼ ©·¬¸ ®»-°»½¬ ¬± ©¸·½¸ ¬¸» ¿³±«²¬- ¿®»

¾»·²¹ °¿·¼ ±® º±® ¿²§ °®·±® °»®·±¼ò

        èò     Ì¸» °®·³¿®§ ¿«¬¸±®·¬§ º±® ¿´´ Ó»¼·½¿®» ½±ª»®¿¹» °®±ª·-·±²- ¿²¼ -«¾-»¯«»²¬

°±´·½·»- ·- ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ò Ý±²¬®¿½¬±®-ô -«½¸ ¿- Ý×ÙÒßô «-» Ó»¼·½¿®» °±´·½·»- ·² ¬¸»

º±®³ ±º ®»¹«´¿¬·±²­ô Ò¿¬·±²¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ øÒÝÜ­÷ô ½±ª»®¿¹» °®±ª·­·±²­ ·²

·²¬»®°®»¬¿¬·ª» ³¿²«¿´­ô ¿²¼ Ô±½¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ øÔÝÜ­÷ô ¬± ¿°°´§ ¬¸» °®±ª·­·±²­ ±º

¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ò

        çò     Ì¸» ÒÝÜ- ¿®» ¼»ª»´±°»¼ ¾§ ÝÓÍ ¬± ¼»-½®·¾» ¬¸» ½·®½«³-¬¿²½»- º±® Ó»¼·½¿®»

½±ª»®¿¹» ²¿¬·±²©·¼» º±® ¿ -°»½·º·½ ³»¼·½¿´ -»®ª·½» °®±½»¼«®» ±® ¼»ª·½»ò ÒÝÜ- ±«¬´·²» ¬¸»

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½±³³«²·¬§ ¿- -±±² ¿- °±--·¾´» ±º ¬¸» ½¸¿²¹» ¿²¼ ½±®®»-°±²¼·²¹ »ºº»½¬·ª» ¼¿¬»ò Ì¸·- ·- ¿

Ð®±ª·¼»® Ý±³³«²·½¿¬·±²- øÐÝÑÓ÷ ¿½¬·ª·¬§ò É·¬¸·² ¬¸·®¬§ øíð÷ ½¿´»²¼¿® ¼¿§- ¿º¬»® ¿² ÒÝÜ ·-

·--«»¼ ¾§ ÝÓÍô ½±²¬®¿½¬±®- -¸¿´´ »·¬¸»® °«¾´·-¸ ¬¸» ÒÝÜ ±² ¬¸» ½±²¬®¿½¬±® ©»¾-·¬» ±® ´·²µ ¬± ¬¸»




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ì ±º ïï                     Ð¿¹»×Ü ì



ÒÝÜ º®±³ ¬¸» ½±²¬®¿½¬±® ©»¾-·¬»ò Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòïòï  Ò¿¬·±²¿´

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       ïïò    Ì¸» ½±²¬®¿½¬±® -¸¿´´ ¿°°´§ ÒÝÜ- ©¸»² ®»ª·»©·²¹ ½´¿·³- º±® -»®ª·½»- ¿¼¼®»--»¼

¾§ ÒÝÜ-ò É¸»² ³¿µ·²¹ ·²¼·ª·¼«¿´ ½´¿·³- ¼»¬»®³·²¿¬·±²-ô ½±²¬®¿½¬±®- ¸¿ª» ²± ¿«¬¸±®·¬§ ¬±

¼»ª·¿¬» º®±³ ÒÝÜ­ ·º ¿¾­±´«¬» ©±®¼­ ­«½¸ ¿­ ²»ª»® ±® ±²´§ ·º ¿®» «­»¼ ·² ¬¸» °±´·½§ò

Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòïòï  Ò¿¬·±²¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ò

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¾»¹¿² ·--«·²¹ ÔÝÜ- ·²-»¿¼ ±º ÔÓÎÐ- ¿²¼ ©»®» ·²-¬®«½¬»¼ ¬± ½±²ª»®¬ ¿´´ »¨·-¬·²¹ ÔÓÎÐ- ·²¬±

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-«¾³·¬¬·²¹ ½±®®»½¬ ½´¿·³- º±® °¿§³»²¬ò Ý±²¬®¿½¬±®-ô -«½¸ ¿- Ý×ÙÒßô °«¾´·-¸ ÔÝÜ- ¬± °®±ª·¼»

¹«·¼¿²½» ¬± ¬¸» °«¾´·½ ¿²¼ ³»¼·½¿´ ½±³³«²·¬§ ©·¬¸·² ¬¸»·® ¶«®·-¼·½¬·±²-ò Ý±²¬®¿½¬±®- ¼»ª»´±°

ÔÝÜ- ¾§ ½±²-·¼»®·²¹ ³»¼·½¿´ ´·¬»®¿¬«®»ô ¿¼ª·½» ±º ´±½¿´ ³»¼·½¿´ -±½·»¬·»- ¿²¼ ³»¼·½¿´

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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ë ±º ïï                        Ð¿¹»×Ü ë



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©»¾-·¬» ¿²¼ ¬¸» ÔÝÜ- ¿°°»¿®·²¹ ·² ¬¸» Ó»¼·½¿®» Ý±ª»®¿¹» Ü¿¬¿¾¿-» ¿®» ·¼»²¬·½¿´ò Ó»¼·½¿®»

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©·¬¸ ÒÝÜ- ±® ½±ª»®¿¹» °®±ª·-·±²- ·² ·²¬»®°®»¬¿¬·ª» ³¿²«¿´-ò           Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§

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®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ò É¸»² ¿°°®±°®·¿¬»ô ½±²¬®¿½¬±®- -¸¿´´ ¼»-½®·¾» ¬¸» ½·®½«³-¬¿²½»- «²¼»®

©¸·½¸ ¬¸» °®±°±-»¼ ÔÝÜ º±® ¬¸» -»®ª·½» ·- ½±²-·¼»®»¼ ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ò Ó»¼·½¿®»

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        ïéò    Ì¸» Ü»º»²¼¿²¬ô Ý×ÙÒßô ¸¿- ·--«»¼ ÔÝÜ- ®»¹¿®¼·²¹ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»-

·² Ì»²²»--»»ô ×¼¿¸± ¿²¼ Ò±®¬¸ Ý¿®±´·²¿ò ß¬¬¿½¸»¼ ¿- Û¨¸·¾·¬ ß ·- ¬¸» ß®¬·½´» º±® Ò±²·²ª¿-·ª»

Ê¿-½«´¿® Í¬«¼·»- øßíìëíï÷ ©¸·½¸ ¿¼¼®»-- ¬¸» ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ -¬¿¬«- ±º ²±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼·»-ò Í»» Û¨¸·¾·¬ ßô ¿¬¬¿½¸»¼ò

        ïèò    ß½½±®¼·²¹ ¬± ¬¸» ß®¬·½´» º±® Ò±²·²ª¿-·ª» Ê¿-½«´¿® Í¬«¼·»-ô ²±²·²ª¿-·ª» ª¿-½«´¿®

-¬«¼·»- ·²½´«¼» ¬¸» °»®º±®³¿²½» ±º ¬¸» -¬«¼·»- ¿²¼ °¿¬·»²¬ ½¿®» ®»¯«·®»¼ ¬± °»®º±®³ ¬¸» -¬«¼·»-ô

-«°»®ª·-·±² ±º ¬¸» -¬«¼·»- ¿²¼ ·²¬»®°®»¬¿¬·±² ±º ¬¸» -¬«¼§ ®»-«´¬- ©·¬¸ ½±°·»- º±® °¿¬·»²¬ ®»½±®¼- ±º

¸¿®¼½±°§ ±«¬°«¬ ±® ·³¿¹·²¹ ©¸»² °®±ª·¼»¼ò ×¬ ·- ¬¸» ®»-°±²-·¾·´·¬§ ±º ¬¸» °®±ª·¼»® ¬± »²-«®» ¬¸»




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ê ±º ïï                         Ð¿¹»×Ü ê



³»¼·½¿´ ²»½»--·¬§ ±º °®±½»¼«®»- ¿²¼ ¬± ³¿·²¬¿·² ¿ ®»½±®¼ º±® °±--·¾´» ¿«¼·¬ò          Ò±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼·»- ¿®» ³»¼·½¿´´§ ²»½»--¿®§ ±²´§ ·º ¬¸» ±«¬½±³» ©·´´ °±¬»²¬·¿´´§ ·³°¿½¬ ¬¸»

¼·¿¹²±-·- ±® ½´·²·½¿´ ½±«®-» ±º ¬¸» °¿¬·»²¬ò

        ïçò    Ì¸» ß®¬·½´» º±® Ò±²·²ª¿-·ª» Ê¿-½«´¿® Í¬«¼·»- -¬¿¬»- ¿- º±´´±©-æ

                       Ì¸» ¿½½«®¿½§ ±º ²±²·²ª¿-·ª» ª¿-½«´¿® ¼·¿¹²±-¬·½ -¬«¼·»-
               ¼»°»²¼- ±² ¬¸» µ²±©´»¼¹»ô -µ·´´ ¿²¼ »¨°»®·»²½» ±º ¬¸» ¬»½¸²±´±¹·-¬
               ¿²¼ ¬¸» °¸§-·½·¿² °»®º±®³·²¹ ¬¸» ·²¬»®°®»¬¿¬·±² ±º ¬¸» -¬«¼§ò
               Ý±²-»¯«»²¬´§ô ¬»½¸²±´±¹·-¬ ¿²¼ °¸§-·½·¿²- ³«-¬ ¾» ¿¾´» ¬± -¸±©
               ¼±½«³»²¬¿¬·±² ±º ¬®¿·²·²¹ ¿²¼ »¨°»®·»²½» ¿- ©»´´ ¿- ³¿·²¬¿·² ¬¸»-»
               ½®»¼»²¬·¿´- ¿¬ »¿½¸ ±ºº·½» -·¬»ò ß´´ ²±²·²ª¿-·ª» ª¿-½«´¿® ¼·¿¹²±-¬·½
               -¬«¼·»- ³«-¬ ¾»æ øï÷ °»®º±®³»¼ ¾§ ¿ ¯«¿´·º·»¼ °¸§-·½·¿²ô øî÷ °»®º±®³»¼
               ¾§ ±® «²¼»® ¬¸» -«°»®ª·-·±² ±º °»®-±²- ¬¸¿¬ ¸¿ª» ¼»³±²-¬®¿¬»¼
               ³·²·³«³ »²¬®§ ´»ª»´ ½±³°»¬»²½§ ¿- »ª·¼»²½»¼ ¾§ ¾»·²¹ ½®»¼»²¬·¿´»¼
               ·² ª¿-½«´¿® ¬»½¸²±´±¹§ô ±® øí÷ °»®º±®³»¼ ·² º¿½·´·¬·»- ©·¬¸ ´¿¾±®¿¬±®·»-
               ¿½½®»¼·¬»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ò Û¨¿³°´» ±º ¿°°®±°®·¿¬» °»®-±²¿´
               ½»®¬·º·½¿¬·±² ·²½´«¼» ¬¸» Î»¹·-¬»®»¼ Ê¿-½«´¿® Ì»½¸²±´±¹·-¬ øÎÊÌ÷
               ½®»¼»²¬·¿´ ¿²¼ ¬¸» Î»¹·-¬»®»¼ Ê¿-½«´¿® Í°»½·¿´·-¬ øÎÊÍ÷ ½®»¼»²¬·¿´ ·²
               ª¿-½«´¿® ¬»½¸²±´±¹§ò ß°°®±°®·¿¬» ´¿¾±®¿¬±®§ ¿½½®»¼·¬¿¬·±² ·²½´«¼»-
               ¬¸» ×²¬»®-±½·»¬¿´ Ý±³³·--·±² º±® ¬¸» ß½½®»¼·¬¿¬·±² ±º Ê¿-½«´¿®
               Ô¿¾±®¿¬±®·»- ø×ÝßÊÔ÷ ¿²¼ñ±® ¬¸» ß³»®·½¿² Ý±´´»¹» ±º Î¿¼·±´±¹§
               øßÝÎ÷ò Ì¸·- ¿½½®»¼·¬¿¬·±² ©·´´ ¾» ®»¯«·®»¼ ¿- ±º Ö¿²«¿®§ ïô îððìò


               Ì·¬´» ÈÊ××× ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ Í»½¬·±² ïèííø»÷ò Ì¸·- -»½¬·±²
               °®±¸·¾·¬- Ó»¼·½¿®» °¿§³»²¬ º±® ¿²§ ½´¿·³ ©¸·½¸ ´¿½µ- ¬¸» ²»½»--¿®§
               ·²º±®³¿¬·±² ¬± °®±½»-- ¬¸» ½´¿·³ò


                        Facts Pertaining To Relator Stephen McMullen

        îðò    Î»´¿¬±®ô Í¬»°¸»² Ó½Ó«´´»²ô ·- ¿² ±®·¹·²¿´ -±«®½» ©¸± ¸¿- ¼·®»½¬ ¿²¼ ·²¼»°»²¼»²¬

µ²±©´»¼¹» ±º ¬¸» ·²º±®³¿¬·±² ±² ©¸·½¸ ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸·- Ý±³°´¿·²¬ ¿®» ¾¿-»¼ ¿²¼ ¸¿-

ª±´«²¬¿®·´§ °®±ª·¼»¼ ¬¸» ·²º±®³¿¬·±² ¬± ¬¸» ¹±ª»®²³»²¬ ¾»º±®» º·´·²¹ ¿² ¿½¬·±² ¾¿-»¼ ±² ¬¸»

·²º±®³¿¬·±² ½±²¬¿·²»¼ ¸»®»·²ò

        îïò    Î»´¿¬±®ô Í¬»°¸»² Ó½Ó«´´»²ô ©±®µ»¼ º±® ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ·² Ó»³°¸·-ô

Ì»²²»--»» º®±³ ¿°°®±¨·³¿¬»´§ Ö«²» îððè ¬¸®±«¹¸ ß«¹«-¬ îððèò              Î»´¿¬±® ·- ¿ Î»¹·-¬»®»¼




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» é ±º ïï                    Ð¿¹»×Ü é



Ê¿-½«´¿® Ì»½¸²±´±¹·-¬ øÎÊÌ÷ ½®»¼»²¬·¿´»¼ ¿²¼ ¿½½®»¼·¬»¼ ¾§ ¬¸» ß³»®·½¿² Î»¹·-¬®§ ±º

Ü·¿¹²±-¬·½ Ó»¼·½¿´ Í±²±¹®¿°¸»®-ò

       îîò    Î»´¿¬±® -¬¿¬»- ¬¸¿¬ ©¸·´» ¸» ©¿- °®±°»®´§ ½®»¼»²¬·¿´»¼ ¿- ¿ ª¿-½«´¿® ¬»½¸²±´±¹·-¬ô

³¿²§ ±º ¬¸» ¬»½¸²±´±¹·-¬ ¿¬ Ó»³°¸·- Ø»¿®¬ Ý´·²·½ °»®º±®³·²¹ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ©»®»

²±¬ ½®»¼»²¬·¿´»¼ ¿- ª¿-½«´¿® ¬»½¸²±´±¹·-¬ò      ß¼¼·¬·±²¿´´§ô Î»´¿¬±® -¬¿¬»- ¬¸¿¬ ²±²» ±º ¬¸»

²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- °»®º±®³»¼ ¼«®·²¹ ¸·- »³°´±§³»²¬ ¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½

©»®» °»®º±®³»¼ ¾§ ¿ ¯«¿´·º·»¼ °¸§-·½·¿²ò

       îíò    Î»´¿¬±® ¿´-± ¿--»®¬- ¬¸¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ·- ²±¬ ¿ º¿½·´·¬§ ©·¬¸

´¿¾±®¿¬±®·»- ¿½½®»¼·¬»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ò Î»´¿¬±® ©¿- ¿°°®±¿½¸»¼ ¾§ ¬¸» Ó»³°¸·- Ø»¿®¬

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¬»½¸²±´±¹§ò

       îìò    Ì¸» ª¿-¬ ³¿¶±®·¬§ ±º ¬¸» ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½

©»®» ²±¬ °»®º±®³»¼ ¾§ ¿ ¯«¿´·º·»¼ °¸§-·½·¿²ô ¿² ¿½½®»¼·¬»¼ ª¿-½«´¿® ¬»½¸²±´±¹·-¬ô ±® ¿¬ ¿

´¿¾±®¿¬±®§ ¿½½®»¼·¬»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ò     Ì¸»®»º±®»ô ¬¸» ª¿-¬ ³¿¶±®·¬§ ±º ²±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼§ ½´¿·³- -«¾³·¬¬»¼ ¾§ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ¬± Ý×ÙÒßô ¼·¼ ²±¬ ¯«¿´·º§ º±®

Ó»¼·½¿®» ®»·³¾«®-»³»²¬ò

       îëò    ß- -¬¿¬»¼ ¾§ Ý×ÙÒß ·² ·¬- ß®¬·½´» º±® Ò±²·²ª¿-·ª» Ê¿-½«´¿® Í¬«¼·»-ô ¬¸» ¿½½«®¿½§

±º ²±²·²ª¿-·ª» ª¿-½«´¿® ¼·¿¹²±-¬·½ -¬«¼·»- ¼»°»²¼- ±² ¬¸» µ²±©´»¼¹»ô -µ·´´ ¿²¼ »¨°»®·»²½» ±º ¬¸»

¬»½¸²±´±¹·-¬ô ¿²¼ ½±²-»¯«»²¬´§ô ¬¸» ¬»½¸²±´±¹·-¬ ¿²¼ °¸§-·½·¿² ³«-¬ ¾» ¿¾´» ¬± -¸±©

¼±½«³»²¬¿¬·±² ±º ¬®¿·²·²¹ ¿²¼ »¨°»®·»²½» ¿- ©»´´ ¿- ³¿·²¬¿·² ¬¸» ½®»¼»²¬·¿´- ¿¬ »¿½¸ -·¬»ò Ì¸»

´¿½µ ±º ¬¸»-» ½®»¼»²¬·¿´- ©¿- ±¾ª·±«-ô ·² ¬¸¿¬ô Î»´¿¬±® ²±¬·½»¼ ¬¸¿¬ ¬¸» ª¿-¬ ³¿¶±®·¬§ ±º

²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- °»®º±®³»¼ ¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ©»®» ·³°®±°»®´§ °»®º±®³»¼

¿²¼ ·³°®±°»®´§ ·²¬»®°®»¬»¼ ¾§ °»®-±²- ²±¬ ½®»¼»²¬·¿´»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ò




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» è ±º ïï                       Ð¿¹»×Ü è



        îêò       É·¬¸ ¬¸» »¨½»°¬·±² ±º ¬¸» ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- °»®º±®³»¼ ¾§ Î»´¿¬±® ¿²¼

±²» ±¬¸»® °»®-±²ô Î»´¿¬±® ·- ²±¬ ¿©¿®» ±º ¿²§ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ¬¸¿¬ ©»®» °»®º±®³»¼

«²¼»® ¬¸» -«°»®ª·-·±² ±º °»®-±²- ©·¬¸ ¬¸» °®±°»® ½®»¼»²¬·¿´- ±® °»®º±®³»¼ ¾§ ·²¼·ª·¼«¿´-

°®±°»®´§ ½®»¼»²¬·¿´»¼ò

        îéò       Î»´¿¬±® ©·¬²»--»¼ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- °»®º±®³»¼ ¾§ Ó®ò Ð¿«´ ß¼´»® ©¸±

©¿- ¿² «´¬®¿-±«²¼ ¬»½¸²±´±¹·-¬ ©·¬¸ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ò É¸·´» Ó®ò ß¼´»® ·- ¾±¿®¼

½»®¬·º·»¼ ·² »½¸±½¿®¼·±¹®¿³-ô Ó®ò ß¼´»® ©¿- ²±¬ ¾±¿®¼ ½»®¬·º·»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ò Î»´¿¬±®

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¾·´´»¼ ¬± Ó»¼·½¿®»ò

        îèò       Î»´¿¬±® °»®-±²¿´´§ ©·¬²»--»¼ Ó-ò Ü»²·-» Ù®¿ª»- ½±²¼«½¬ ²±²·²ª¿-·ª» ª¿-½«´¿®

-¬«¼·»- ¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ò Ó-ò Ù®¿ª»- ·- ²±¬ ¿½½®»¼·¬»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ò

        îçò       Î»´¿¬±® ¸¿- °»®-±²¿´ µ²±©´»¼¹» ±º -»ª»®¿´ «´¬®¿-±«²¼ ¬»½¸²±´±¹·-¬- ©¸± ¿®» ²±¬

¿½½®»¼·¬»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ °®±ª·¼·²¹ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- º±® °¸§-·½·¿²-

¬¸®±«¹¸±«¬ ¬¸» Í¬¿¬» ±º Ì»²²»--»»ò Ð¸§-·½·¿²- ¿²¼ ½´·²·½- ¬¸®±«¹¸±«¬ ¬¸» Í¬¿¬» ±º Ì»²²»--»»

©¸± ¼± ²±¬ ³¿·²¬¿·² ¬¸»·® ±©² ´¿¾±®¿¬±®·»- ¸·®» ·²¼·ª·¼«¿´- ¬± °»®º±®³ ²±²·²ª¿-·ª» ª¿-½«´¿®

-¬«¼·»- ±² ¬¸»·® °¿¬·»²¬-ò Ì¸»-» ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ¿®» ²±¬ °»®º±®³»¼ ¾§ ¬¸» °¸§-·½·¿²ô

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·²¼·ª·¼«¿´- ±® ½´·²·½- »·¬¸»® °»®º±®³ -¬«¼·»- ±® ½±²¬®¿½¬ ¬»½¸²±´±¹·-¬- ¬¸¿¬ ¼± ²±¬ ³»»¬ ¬¸» °®±°»®

¿½½®»¼·¬¿¬·±²-æ

                  ßò    Î±²²·» É®·¹¸¬  ³±¾·´» «´¬®¿­±«²¼ ­»®ª·½» ±«¬ ±º Í«³³»®ª·´´»ô Ì»²²»­­»»å

                  Þò    Ü»®®·½µ Ô»²»¹¿®  °®±ª·¼»­ ½±²¬®¿½¬ ´¿¾±® º±® ¼±½¬±®­ ·²½´«¼·²¹ Ü®ò

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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ç ±º ïï                       Ð¿¹»×Ü ç



               Ýò    Ô·¹¸¬ Ý´·²·½ô Ù»®³¿²¬±©²ô Ì»²²»--»»å ¿²¼

               Üò    Í¬ò Ö±¸²­ Ý´·²·½ô Ü§»®­¾«®¹ô Ì»²²»­­»»ò

       íðò     Î»´¿¬±® ¿´-± ¸¿- °»®-±²¿´ µ²±©´»¼¹» ¬¸¿¬ ¬¸» Ù±ª»®²³»²¬ ß½½±«²¬·²¹ Ñºº·½»

øÙßÑ÷ ¸¿- °®±³«´¹¿¬»¼ ´·¬»®¿¬«®» ®»¹¿®¼·²¹ ¬¸» °»®ª¿-·ª» ¿²¼ -§-¬»³·½ «-» ±º ²±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼·»- ¬¸¿¬ ¿®» ²±¬ ³»¼·½¿´´§ ®»¿-±²¿¾´» ±® ²»½»--¿®§ò Ð¿®¬·½«´¿®´§ô ¬¸» °«®°±-» ±º ¬¸»

®»¯«·®»³»²¬ º±® ½»®¬·º·½¿¬·±²- ·- ¾»½¿«-» ¸±-°·¬¿´-ô ½´·²·½-ô ¿²¼ °¸§-·½·¿²- ©»®» ¿²¼ ¿®» «¬·´·¦·²¹

·³°®±°»®´§ »¨°»®·»²½»¼ ¿²¼ »¼«½¿¬»¼ ·²¼·ª·¼«¿´- ¬± °»®º±®³ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- °«®»´§

¬± ¾·´´ Ó»¼·½¿®»ò    Ò±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ¸¿ª» ¾»½±³» ¿ ®»ª»²«» -¬®»¿³ ª»®-«- ¿

³»¼·½¿´´§ ²»½»--¿®§ ±® ®»¿-±²¿¾´» -¬«¼§ò ß- -«½¸ô ¬¸» Ý»²¬»®- º±® Ó»¼·½¿®» ¿²¼ Ó»¼·½¿·¼

Í»®ª·½»- øÝÓÍ÷ °®±³«´¹¿¬»¼ ®»¯«·®»³»²¬- ®»¹¿®¼·²¹ ½®»¼»²¬·¿´- ·² ¿² »ºº±®¬ ¬± -¬»³

«²®»¿-±²¿¾´» ¿²¼ «²²»½»--¿®§ -¬«¼·»-ò

       íïò     Ý×ÙÒß ¸¿- º¿·´»¼ ¬± °®±°»®´§ ¿¼³·²·-¬»® ¬¸» °¿§³»²¬ ±º Ó»¼·½¿®» ½´¿·³- º±®

²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ¬¸®±«¹¸±«¬ ¬¸» -¬¿¬»- ±º Ì»²²»--»»ô Ò±®¬¸ Ý¿®±´·²¿ô ¿²¼ ×¼¿¸±ò

Ý×ÙÒß ¸¿- ¿°°®±ª»¼ô ¿«¬¸±®·¦»¼ô ¿²¼ ½¿«-»¼ ¬± ¾» °¿·¼ô Ó»¼·½¿®» ½´¿·³- º±® ²±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼·»- °»®º±®³»¼ ¾§ ²±²ó½®»¼»²¬·¿´»¼ ¬»½¸²±´±¹·-¬ ¿¬ º¿½·´·¬·»- ¬¸¿¬ ¼± ²±¬ ¸¿ª»

´¿¾±®¿¬±®·»- ¿½½®»¼·¬»¼ ·² ª¿-½«´¿® ¬»½¸²±´±¹§ô ¿²¼ ¬¸»®»º±®»ô ¼± ²±¬ ¯«¿´·º§ º±® Ó»¼·½¿®»

®»·³¾«®-»³»²¬ò

       íîò     Î»´¿¬±® ¸¿- °»®-±²¿´´§ °®±ª·¼»¼ ²±²·²ª¿-·ª» ª¿-½«´¿® -»®ª·½»- ·² ±¬¸»® -¬¿¬»-ô

-«½¸ ¿- Ô±«·-·¿²¿ ø©¸·½¸ ·- ¿¼³·²·-¬»®»¼ ¾§ ¿ ½±²¬®¿½¬±® ±¬¸»® ¬¸¿² Ý×ÙÒß÷ô ¿²¼ ¬¸» Ó»¼·½¿®»

½´¿·³- ³«-¬ ¾» ¿½½±³°¿²·»¼ ¾§ ¬¸» °®±°»® ½®»¼»²¬·¿´- ±º ¬¸» ¬»½¸²±´±¹·-¬ ±® ¬¸» ´¿¾±®¿¬±®§ ·²

±®¼»® ¬± ±¾¬¿·² ®»·³¾«®-»³»²¬ò

                                     CLAIM FOR RELIEF

                      VIOLATION OF 31 §U.S.C. 3729(a)(1) and (a)(2)




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Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ïð ±º ïï                       Ð¿¹»×Ü ïð



       ííò     Î»´¿¬±® ·²½±®°±®¿¬»- ¬¸» °®»½»¼·²¹ °¿®¿¹®¿°¸- ¿- ·º º«´´§ -»¬ º±®¬¸ ¸»®»·²ò

       íìò     Ü»º»²¼¿²¬ô ¿½¬·²¹ ¬¸®±«¹¸ ·¬- »³°´±§»»-ô ±ºº·½»®-ô ¿¹»²¬-ô ¿²¼ ·²¼»°»²¼»²¬

½±²¬®¿½¬±®- µ²±©·²¹´§ °®»-»²¬»¼ ±® ½¿«-»¼ ¬± ¾» °®»-»²¬»¼ º¿´-» ±® º®¿«¼«´»²¬ ½´¿·³- º±® °¿§³»²¬

º®±³ Ó»¼·½¿®»ò Ü»º»²¼¿²¬ô Ý×ÙÒßô ¸¿- ª·±´¿¬»¼ ¬¸» ¬»®³- ±º ·¬- ½±²¬®¿½¬ ©·¬¸ ¬¸» Ë²·¬»¼ Í¬¿¬»-

Ù±ª»®²³»²¬ ¿²¼ ¸¿- º¿·´»¼ ¬± ½±³°´§ ©·¬¸ ¬¸» Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô ÒÝÜ-ô

ÔÝÜ-ô ¿²¼ ÔÓÎÐ-ò Ü»-°·¬» ¬¸» -§-¬»³·½ °®±¾´»³ ±º «²²»½»--¿®§ ¿²¼ «²®»¿-±²¿¾´» ²±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼·»-ô Ý×ÙÒß µ²±©·²¹´§ °®»-»²¬»¼ ±® ½¿«-»¼ ¬± ¾» °®»-»²¬»¼ ¬± ¬¸» Ë²·¬»¼ Í¬¿¬»-

Ù±ª»®²³»²¬ ¿ ½´¿·³ º±® °¿§³»²¬ ±º ²±²ó®»·³¾«®-¿¾´» Ó»¼·½¿®» ½´¿·³-ò

       íëò     Ü»­°·¬» Ý×ÙÒß­ ±©² ß®¬·½´» º±® Ò±²·²ª¿­·ª» Ê¿­½«´¿® Í¬«¼·»­ ¿²¼ ¬¸»

½±®®»-°±²¼·²¹ ÒÝÜ- ¿²¼ ÔÝÜ-ô Ý×ÙÒß ¸¿- ¿½¬»¼ ©·¬¸ ¿½¬«¿´ µ²±©´»¼¹»ô ¼»´·¾»®¿¬» ·¹²±®¿²½»

±º ¬¸» ¬®«¬¸ô ±® ®»½µ´»-- ¼·-®»¹¿®¼ º±® ¬¸» ¬®«¬¸ ±® º¿´-·¬§ ±º ©¸»¬¸»® ¿ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼§

©¿- °»®º±®³»¼ ¾§ ¿ ¯«¿´·º·»¼ °¸§-·½·¿²ô ½®»¼»²¬·¿´»¼ ª¿-½«´¿® ¬»½¸²±´±¹·-¬ô ±® ¾§ ¿² ¿½½®»¼·¬»¼

ª¿-½«´¿® ¬»½¸²±´±¹§ ´¿¾±®¿¬±®§ò

       íêò     Ì¸» ½´¿·³- °®»-»²¬»¼ ¾§ ¬¸» Ü»º»²¼¿²¬ ©»®» º¿´-» ±® º®¿«¼«´»²¬ ·² ¬¸¿¬ ¬¸»

Ü»º»²¼¿²¬ µ²±©·²¹´§ ³¿¼» ±® ½¿«-»¼ ¿ º¿´-» ±® º®¿«¼«´»²¬ ½´¿·³ ¬± ¾» °¿·¼ ¾§ ¬¸» Ë²·¬»¼ Í¬¿¬»-

Ù±ª»®²³»²¬ò

       íéò     Ì¸» Ü»º»²¼¿²¬ -«¾³·¬¬»¼ ±® ½¿«-»¼ ¬± ¾» -«¾³·¬¬»¼ ¿²¼ °®»-»²¬»¼ ±® ½¿«-»¼ ¬± ¾»

°®»-»²¬»¼ ¬¸» º¿´-» ¿²¼ º®¿«¼«´»²¬ ½´¿·³- º±® °¿§³»²¬ ±® ¿°°®±ª¿´ò

       íèò     Ì¸» º¿´-» ¿²¼ º®¿«¼«´»²¬ ½´¿·³- ¿«¬¸±®·¦»¼ ¿²¼ ¿°°®±ª»¼ ¾§ Ý×ÙÒß ©»®» °¿·¼ ¾§

¬¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ò

       íçò     ß- ¿ ¼·®»½¬ ¿²¼ °®±¨·³¿¬» ®»-«´¬ ±º °¿§·²¹ ³·´´·±²- ±º ¼±´´¿®- º±® «²¯«¿´·º·»¼

½´¿·³- ©¸·½¸ ©»®» ¿«¬¸±®·¦»¼ ¿²¼ ¿°°®±ª»¼ ¾§ Ý×ÙÒßô ¬¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ -«-¬¿·²»¼

³·´´·±²- ±º ¼±´´¿®- ·² ¼¿³¿¹»-ò




                                     ïð
  Case 3:12-cv-00501 Document 34-1 Filed 06/18/13 Page 16 of 97 PageID #: 215
Ý¿-» îæðèó½ªóðîëèêóÍØÓó¬³° Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ïï ±º ïï                      Ð¿¹»×Ü ïï



          ÉØÛÎÛÚÑÎÛô Î»´¿¬±® ¼»³¿²¼-æ øï÷ ¶«¼¹³»²¬ ¿¹¿·²-¬ ¬¸» Ü»º»²¼¿²¬ ·² ¿² ¿³±«²¬ ±º

¬¸®»» ¬·³»- ¬¸» ½´¿·³- -«¾³·¬¬»¼ º±® °¿§³»²¬ ¬± ¬¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ô øî÷ º±® ¿ ½·ª·´

°»²¿´¬§ ¿¹¿·²-¬ ¬¸» Ü»º»²¼¿²¬ ·² ¿² ¿³±«²¬ ¾»¬©»»² üëôëððòðð ¿²¼ üïïôðððòðð º±® »¿½¸ ª·±´¿¬·±²

±º íï ËòÍòÝò yíéîçô »¬ -»¯òô øí÷ º±® ¬¸» ³¿¨·³«³ ¿³±«²¬ ¿´´±©»¼ ¬± ¬¸» Ï«· Ì¿³ Ð´¿·²¬·ºº «²¼»®

íï ËòÍòÝò yíéíðø¼÷ ±º ¬¸» Ú¿´-» Ý´¿·³- ß½¬ ±® ¿²§ ±¬¸»® ¿°°´·½¿¾´» °®±ª·-·±² ±º ´¿©ô ·²½´«¼·²¹

¿²§ ¿´¬»®²¿¬» ®»³»¼§ °®±ª·-·±²-ô øì÷ º±® ·¬- ½±«®¬ ½±-¬- ¿²¼ ®»¿-±²¿¾´» ¿¬¬±®²»§- º»»- ¿¬ °®»ª¿·´·²¹

®¿¬»-ô øë÷ º±® »¨°»²-»-ô ¿²¼ øê÷ º±® -«½¸ ±¬¸»® ¿²¼ º«®¬¸»® ®»´·»º ¿- ¬¸·- Ý±«®¬ ¼»»³- ¶«-¬ ¿²¼

°®±°»®ò

                                           JURY DEMAND

          Î»´¿¬±® ¼»³¿²¼- ¿ ¶«®§ ¬®·¿´ ±² ¿´´ ·--«»- º±® ©¸·½¸ ¿ ¶«®§ ·- ¿ª¿·´¿¾´»ò


          Ü¿¬»¼æ Í»°¬»³¾»® ïðô îððèò


                                                         ñ-ñ Î«--»´´ ßò É±±¼
                                                         Î«--»´´ ßò É±±¼ô Û-¯ò øÌÒ ýîíïðî÷
                                                         WOOD LAW OFFICE, P.A.
                                                         çïë É»­¬ Þ Í¬®»»¬
                                                         Î«--»´´ª·´´»ô ßÎ éîèðï
                                                         Ð¸æ øìéç÷ çêéóçêêí
                                                         Ú¿¨æ øìéç÷ çêéóçêêì


                                                         ñ-ñ Ì¸±³¿- Ðò Ì¸®¿-¸
                                                         Ì¸±³¿- Ðò Ì¸®¿-¸ øßÎýèðïìé÷
                                                         THRASH LAW FIRM
                                                         ïïðï Ù¿®´¿²¼ Í¬®»»¬
                                                         Ô·¬¬´» Î±½µô ßÎ éîîðï
                                                         øëðï÷ íéìóïðëè

                                                         ß¬¬±®²»§- º±® Î»´¿¬±®




                                     ïï
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                            Exhibit B




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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ï ±º ïð                    Ð¿¹»×Ü ï



                       ÌØÛ ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ
                     ÚÑÎ ÌØÛ ÉÛÍÌÛÎÒ Ü×ÍÌÎ×ÝÌ ÑÚ ÌÛÒÒÛÍÍÛÛ


ËÒ×ÌÛÜ ÍÌßÌÛÍ ÑÚ ßÓÛÎ×Ýß ÛÈ ÎÛÔò               ÷
ÍÌÛÐØÛÒ ÓÝÓËÔÔÛÒ                               ÷
                                               ÷
       Î»´¿¬±®ô                                ÷
                                               ÷
ª-ò                                            ÷          Ý¿-» Ò±òÁÁÁÁÁÁÁÁÁÁÁÁ
                                               ÷
ÌØÛ ÉÛÍÌ ÝÔ×Ò×Ýô ÐòÝòô ¼ñ¾ñ¿                   ÷          TO BE FILED IN CAMERA AND
ÓÛÓÐØ×Í ØÛßÎÌ ÝÔ×Ò×Ý                           ÷          UNDER SEAL
                                               ÷
       Ü»º»²¼¿²¬ò                              ÷          Ð«®-«¿²¬ ¬± íï ËòÍòÝò § íéíðø¾÷øî÷
                                               ÷
                                               ÷
                                               ÷
                                               ÷


                   RELATOR’S COMPLAINT FOR DAMAGES
             UNDER THE FALSE CLAIMS ACT, 31 U.S.C. § 3729, ET SEQ.


       Î»´¿¬±®ô Í¬»°¸»² Ó½Ó«´´»²ô º±® ¸·- ½¿«-» ±º ¿½¬·±² -¬¿¬»- ¿- º±´´±©- ¿¹¿·²-¬ Ü»º»²¼¿²¬

Ì¸» É»­¬ Ý´·²·½ô ÐòÝòô ¼ñ¾ñ¿ Ó»³°¸·­ Ø»¿®¬ Ý´·²·½ øÓ»³°¸·­ Ø»¿®¬ Ý´·²·½÷ò

                                    CAUSE OF ACTION

       ïò     Ì¸·- ·- ¿² ¿½¬·±² ¬± ®»½±ª»® ¼¿³¿¹»- ¿²¼ ½·ª·´ °»²¿´¬·»- ±² ¾»¸¿´º ±º ¬¸» Ë²·¬»¼

Í¬¿¬»- ±º ß³»®·½¿ ¿®·-·²¹ ±«¬ ±º ¬¸» º¿´-» ±® º®¿«¼«´»²¬ Ó»¼·½¿®» ½´¿·³- ¾§ Ü»º»²¼¿²¬ò Ì¸·- ·- ¿

½¿«-» ±º ¿½¬·±² ¾®±«¹¸¬ ¾§ Î»´¿¬±® °«®-«¿²¬ ¬± íï ËòÍòÝò § íéîç ¿²¼ ¬¸» ¯«· ¬¿³ °®±ª·-·±²- ±º

¬¸¿¬ -¬¿¬«¬» º±«²¼ ¿¬ íï ËòÍòÝò §§ íéíð ¿²¼ íéíïò

       îò     íï ËòÍòÝò § íéíðø¾÷øî÷ °®±ª·¼»- ¬¸¿¬ •Å¬Ã¸» ½±³°´¿·²¬ -¸¿´´ ¾» º·´»¼ ·² ½¿³»®¿ô

-¸¿´´ ®»³¿·² «²¼»® -»¿´ º±® ¿¬ ´»¿-¬ êð ¼¿§-ô ¿²¼ -¸¿´´ ²±¬ ¾» -»®ª»¼ ±² ¬¸» ¼»º»²¼¿²¬ «²¬·´ ¬¸»

½±«®¬ -± ±®¼»®-ò Ì¸» Ù±ª»®²³»²¬ ³¿§ »´»½¬ ¬± ·²¬»®ª»²» ¿²¼ °®±½»»¼ ©·¬¸ ¬¸» ¿½¬·±² ©·¬¸·² êð




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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» î ±º ïð                       Ð¿¹»×Ü î



¼¿§­ ¿º¬»® ·¬ ®»½»·ª»­ ¾±¬¸ ¬¸» ½±³°´¿·²¬ ¿²¼ ¬¸» ³¿¬»®·¿´ »ª·¼»²½» ¿²¼ ·²º±®³¿¬·±²ò Ð´¿·²¬·ºº ·­

º·´·²¹ ¬¸·- ³¿¬¬»® «²¼»® -»¿´ò

        íò      ß ½±°§ ±º ¬¸» »ª·¼»²¬·¿®§ ¼·-½´±-«®» ®»¯«·®»¼ ¾§ ¬¸» Ú¿´-» Ý´¿·³- ß½¬ ¸¿- ¿´®»¿¼§

¾»»² -»®ª»¼ ±² ¬¸» Ë²·¬»¼ Í¬¿¬»-ò

                                 JURISDICTION AND VENUE

        ìò      Ì¸·- Ý±«®¬ ¸¿- -«¾¶»½¬ ³¿¬¬»® ¶«®·-¼·½¬·±² ±ª»® ¬¸·- ³¿¬¬»® ¾»½¿«-» ¬¸» ½´¿·³ º±®

®»´·»º ¿®·-»- «²¼»® íï ËòÍòÝò y íéîçô »¬ -»¯ò Ê»²«» ·- °®±°»® ·² ¬¸·- ¼·-¬®·½¬ °«®-«¿²¬ ¬± íï ËòÍòÝò

§ íéíî ¾»½¿«-» Ü»º»²¼¿²¬- ¬®¿²-¿½¬ ¾«-·²»-- ·² ¬¸·- ¶«¼·½·¿´ ¼·-¬®·½¬ò

                                            PARTIES

        ëò      ß¬ ¿´´ ¬·³»­ ®»´»ª¿²¬ ¸»®»¬±ô Î»´¿¬±® Í¬»°¸»² Ó½Ó«´´»² øÎ»´¿¬±®÷ ©¿­ ¿ ½·¬·¦»²

¿²¼ ®»-·¼»²¬ ±º ¬¸» Í¬¿¬» ±º Ì»²²»--»» ¿²¼ ©¿- »³°´±§»¼ ¾§ Ó»³°¸·- Ø»¿®¬ Ø±-°·¬¿´ ·²

Ó»³°¸·-ô Ì»²²»--»»ò Î»´¿¬±® ¸¿- ©·¬²»--»¼ ¬¸» »ª»²¬- ¿- -»¬ º±®¬¸ ¸»®»·²ò Î»´¿¬±® ·- ½«®®»²¬´§ ¿

®»-·¼»²¬ ±º ¬¸» Í¬¿¬» ±º É¿-¸·²¹¬±²ò

        êò      Ì¸» É»-¬ Ý´·²·½ô ÐòÝò ·- ¿ º±® °®±º·¬ô ¼±³»-¬·½ ½±®°±®¿¬·±² ©·¬¸ ·¬- °®·²½·°¿´ °´¿½»

±º ¾«-·²»-- ´±½¿¬»¼ ¿¬ ïðð Òò Ø«³°¸®»§-ô Ó»³°¸·-ô ÌÒ íèïîðò Ü»º»²¼¿²¬ Ó»³°¸·- Ø»¿®¬

Ý´·²·½ ·- ¿´-± ´±½¿¬»¼ ¿¬ ïðð Òò Ø«³°¸®»§-ô Ó»³°¸·-ô Ì»²²»--»» íèïîðò Ó»³°¸·- Ø»¿®¬ Ý´·²·½

·- ·² ¬¸» ¾«-·²»-- ±º °®±ª·¼·²¹ ³»¼·½¿´ -»®ª·½»- º±® °¿¬·»²¬- ·²½´«¼·²¹ Ó»¼·½¿®» ®»·³¾«®-¿¾´»

-»®ª·½»- ·² Ì»²²»--»»ò

                                    BACKGROUND FACTS

        éò      Ð«®-«¿²¬ ¬± Ì·¬´» ÈÊ××× ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô yïèííø»÷ -¬¿¬»-ô •Ò± °¿§³»²¬

-¸¿´´ ¾» ³¿¼» ¬± ¿²§ °®±ª·¼»® ±º -»®ª·½»- ±® ±¬¸»® °»®-±² «²¼»® ¬¸·- °¿®¬ «²´»-- ¬¸»®» ¸¿- ¾»»²

º«®²·-¸»¼ -«½¸ ·²º±®³¿¬·±² ¿- ³¿§ ¾» ²»½»--¿®§ ·² ±®¼»® ¬± ¼»¬»®³·²» ¬¸» ¿³±«²¬- ¼«» -«½¸




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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» í ±º ïð                     Ð¿¹»×Ü í



°®±ª·¼»® ±® ±¬¸»® °»®-±² «²¼»® ¬¸·- °¿®¬ º±® ¬¸» °»®·±¼ ©·¬¸ ®»-°»½¬ ¬± ©¸·½¸ ¬¸» ¿³±«²¬- ¿®»

¾»·²¹ °¿·¼ ±® º±® ¿²§ °®·±® °»®·±¼ò

       èò      Ì¸» °®·³¿®§ ¿«¬¸±®·¬§ º±® ¿´´ Ó»¼·½¿®» ½±ª»®¿¹» °®±ª·-·±²- ¿²¼ -«¾-»¯«»²¬

°±´·½·»- ·- ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ò Ý±²¬®¿½¬±®- «-» Ó»¼·½¿®» °±´·½·»- ·² ¬¸» º±®³ ±º ®»¹«´¿¬·±²-ô

Ò¿¬·±²¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ øÒÝÜ­÷ô ½±ª»®¿¹» °®±ª·­·±²­ ·² ·²¬»®°®»¬¿¬·ª» ³¿²«¿´­ô ¿²¼

Ô±½¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ øÔÝÜ­÷ô ¬± ¿°°´§ ¬¸» °®±ª·­·±²­ ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ò

       çò      Ì¸» ÒÝÜ- ¿®» ¼»ª»´±°»¼ ¾§ ¬¸» Ý»²¬»® º±® Ó»¼·½¿®» ¿²¼ Ó»¼·½¿·¼ Í»®ª·½»-

øÝÓÍ÷ ¬± ¼»­½®·¾» ¬¸» ½·®½«³­¬¿²½»­ º±® Ó»¼·½¿®» ½±ª»®¿¹» ²¿¬·±²©·¼» º±® ¿ ­°»½·º·½ ³»¼·½¿´

-»®ª·½» °®±½»¼«®» ±® ¼»ª·½»ò ÒÝÜ- ±«¬´·²» ¬¸» ½±²¼·¬·±²- º±® ©¸·½¸ -»®ª·½»- ½±²-·¼»® ¬± ¾»

½±ª»®»¼ ø±® ²±¬ ½±ª»®»¼÷ «²¼»® yïèêîø¿÷øï÷ ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ ±® ±¬¸»® ¿°°´·½¿¾´»

°®±ª·-·±²- ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ò     ÒÝÜ- ¿®» ·--«»¼ ¿- ¿ °®±¹®¿³ ·²-¬®«½¬·±²ò        Ñ²½»

°«¾´·-¸»¼ ·² ¿ ÝÓÍ °®±¹®¿³ ·²-¬®«½¬·±²ô ¿² ÒÝÜ ·- ¾·²¼·²¹ ±² ¿´´ Ó»¼·½¿®» ½¿®®·»®- ¿²¼

°®±ª·¼»®-ò

       ïðò     É¸»² ¿ ²»© ÒÝÜ ·- °«¾´·-¸»¼ô ¬¸» ½±²¬®¿½¬±® -¸¿´´ ²±¬·º§ ¬¸» °®±ª·¼»®

½±³³«²·¬§ ¿- -±±² ¿- °±--·¾´» ±º ¬¸» ½¸¿²¹» ¿²¼ ½±®®»-°±²¼·²¹ »ºº»½¬·ª» ¼¿¬»ò Ì¸·- ·- ¿

Ð®±ª·¼»® Ý±³³«²·½¿¬·±²- øÐÝÑÓ÷ ¿½¬·ª·¬§ò É·¬¸·² ¬¸·®¬§ øíð÷ ½¿´»²¼¿® ¼¿§- ¿º¬»® ¿² ÒÝÜ ·-

·--«»¼ ¾§ ÝÓÍô ½±²¬®¿½¬±®- -¸¿´´ »·¬¸»® °«¾´·-¸ ¬¸» ÒÝÜ ±² ¬¸» ½±²¬®¿½¬±® ©»¾-·¬» ±® ´·²µ ¬± ¬¸»

ÒÝÜ º®±³ ¬¸» ½±²¬®¿½¬±® ©»¾-·¬»ò Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòïòï  Ò¿¬·±²¿´

Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²-ò

       ïïò     Ì¸» ½±²¬®¿½¬±® -¸¿´´ ¿°°´§ ÒÝÜ- ©¸»² ®»ª·»©·²¹ ½´¿·³- º±® -»®ª·½»- ¿¼¼®»--»¼

¾§ ÒÝÜ-ò É¸»² ³¿µ·²¹ ·²¼·ª·¼«¿´ ½´¿·³- ¼»¬»®³·²¿¬·±²-ô ½±²¬®¿½¬±®- ¸¿ª» ²± ¿«¬¸±®·¬§ ¬±

¼»ª·¿¬» º®±³ ÒÝÜ­ ·º ¿¾­±´«¬» ©±®¼­ ­«½¸ ¿­ ²»ª»® ±® ±²´§ ·º ¿®» «­»¼ ·² ¬¸» °±´·½§ò

Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòïòï  Ò¿¬·±²¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ò




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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ì ±º ïð                    Ð¿¹»×Ü ì



       ïîò    Í»½¬·±² ëîî ±º ¬¸» Þ»²»º·¬- ×³°®±ª»³»²¬ ¿²¼ Ð®±¬»½¬·±² ß½¬ ½®»¿¬»¼ ¬¸» ¬»®³

Ô±½¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±² øÔÝÜ÷ò ß² ÔÝÜ ·­ ¿ ¼»½·­·±² ¾§ ¿ Ó»¼·½¿®» ¿¼³·²·­¬®¿¬·ª»

½±²¬®¿½¬±® ±® ½¿®®·»® ©¸»¬¸»® ¬± ½±ª»® ¿ °¿®¬·½«´¿® -»®ª·½» ·² ¿½½±®¼¿²½» ©·¬¸ yïèêîø¿÷øï÷øß÷ ±º

¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ò Ì¸» ¼·ºº»®»²½» ¾»¬©»»² ¿ Ô±½¿´ Ó»¼·½¿´ Î»ª·»© Ð±´·½§ øÔÓÎÐ÷ ¿²¼

ÔÝÜ­ ·­ ¬¸¿¬ ÔÝÜ­ ½±²­·­¬ ±º ±²´§ ®»¿­±²¿¾´» ¿²¼ ²»½»­­¿®§ ·²º±®³¿¬·±²ô ©¸·´» ÔÓÎÐ­ ³¿§

¿´-± ½±²¬¿·² ¾»²»º·¬ ½¿¬»¹±®§ ¿²¼ -¬¿¬«¬±®§ »¨½´«-·±² °®±ª·-·±²-ò Þ»¹·²²·²¹ ·² îððíô ½±²¬®¿½¬±®-

¾»¹¿² ·--«·²¹ ÔÝÜ- ·²-»¿¼ ±º ÔÓÎÐ- ¿²¼ ©»®» ·²-¬®«½¬»¼ ¬± ½±²ª»®¬ ¿´´ »¨·-¬·²¹ ÔÓÎÐ- ·²¬±

ÔÝÜ-ò Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòïòíò

       ïíò    Ì¸» ÔÝÜ- -°»½·º§ «²¼»® ©¸¿¬ ½´·²·½¿´ ½·®½«³-¬¿²½»- ¿ -»®ª·½» ·- ½±²-·¼»®»¼ ¬± ¾»

®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ ¿²¼ ¿®» ¿¼³·²·-¬®¿¬·ª» ¿²¼ »¼«½¿¬·±²¿´ ¬±±´- ¬± ¿--·-¬ °®±ª·¼»®- ·²

-«¾³·¬¬·²¹ ½±®®»½¬ ½´¿·³- º±® °¿§³»²¬ò Ý±²¬®¿½¬±®-ô -«½¸ ¿- Ý×ÙÒßô °«¾´·-¸ ÔÝÜ- ¬± °®±ª·¼»

¹«·¼¿²½» ¬± ¬¸» °«¾´·½ ¿²¼ ³»¼·½¿´ ½±³³«²·¬§ ©·¬¸·² ¬¸»·® ¶«®·-¼·½¬·±²-ò Ý±²¬®¿½¬±®- ¼»ª»´±°

ÔÝÜ- ¾§ ½±²-·¼»®·²¹ ³»¼·½¿´ ´·¬»®¿¬«®»ô ¿¼ª·½» ±º ´±½¿´ ³»¼·½¿´ -±½·»¬·»- ¿²¼ ³»¼·½¿´

½±²-«´¬¿²¬-ô °«¾´·½ ½±³³»²¬-ô ¿²¼ ½±³³»²¬- º®±³ ¬¸» °®±ª·¼»® ½±³³«²·¬§ò Ì¸» ½±²¬®¿½¬±® ·-

®»¯«·®»¼ ¬± ¿¼±°¬ ÔÝÜ- ¬¸¿¬ ¸¿ª» ¾»»² ¼»ª»´±°»¼ ·²¼·ª·¼«¿´´§ ±® ½±´´¿¾±®¿¬·ª»´§ ©·¬¸ ±¬¸»®

½±²¬®¿½¬±®-ò Ì¸» ½±²¬®¿½¬±® -¸¿´´ »²-«®» ¬¸¿¬ ¿´´ ÔÝÜ- ¿®» ½±²-·-¬»²¬ ©·¬¸ ¿´´ -¬¿¬«¬»-ô ®«´·²¹-ô

®»¹«´¿¬·±²-ô ¿²¼ ²¿¬·±²¿´ ½±ª»®¿¹»ô °¿§³»²¬ô ¿²¼ ½±¼·²¹ °±´·½·»-ò Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§

Ó¿²«¿´ô Ý¸ò ïíòïòí  Ô±½¿´ Ý±ª»®¿¹» Ü»¬»®³·²¿¬·±²­ò

       ïìò    Ý±²¬®¿½¬±®­ ­¸¿´´ »²­«®» ¬¸¿¬ ¬¸» ÔÝÜ­ ¿°°»¿®·²¹ ±² ¬¸» ½±²¬®¿½¬±®­ ÔÝÜ

©»¾-·¬» ¿²¼ ¬¸» ÔÝÜ- ¿°°»¿®·²¹ ·² ¬¸» Ó»¼·½¿®» Ý±ª»®¿¹» Ü¿¬¿¾¿-» ¿®» ·¼»²¬·½¿´ò Ó»¼·½¿®»

Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòì  É¸»² ¬± Ü»ª»´±° Ò»©ñÎ»ª·­»¼ ÔÝÜ­ò

       ïëò    Ý±²¬®¿½¬±®- -¸¿´´ »²-«®» ¬¸¿¬ ÔÝÜ- ¿®» ¼»ª»´±°»¼ º±® -»®ª·½»- ±²´§ ©·¬¸·² ¬¸»·®

¶«®·-¼·½¬·±²ò Ì¸» ÔÝÜ -¸¿´´ ¾» ½´»¿®ô ½±²½·-»ô °®±°»®´§ º±®³¿¬¬»¼ ¿²¼ ²±¬ ®»-¬®·½¬»¼ ¬± ½±²º´·½¬




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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ë ±º ïð                         Ð¿¹»×Ü ë



©·¬¸ ÒÝÜ- ±® ½±ª»®¿¹» °®±ª·-·±²- ·² ·²¬»®°®»¬¿¬·ª» ³¿²«¿´-ò           Ó»¼·½¿®» Ð®±¹®¿³ ×²¬»¹®·¬§

Ó¿²«¿´ô Ý¸ò ïíòë  Ý±²¬»²¬ ±º ¿² ÔÝÜò

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®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ò É¸»² ¿°°®±°®·¿¬»ô ½±²¬®¿½¬±®- -¸¿´´ ¼»-½®·¾» ¬¸» ½·®½«³-¬¿²½»- «²¼»®

©¸·½¸ ¬¸» °®±°±-»¼ ÔÝÜ º±® ¬¸» -»®ª·½» ·- ½±²-·¼»®»¼ ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ò Ó»¼·½¿®»

Ð®±¹®¿³ ×²¬»¹®·¬§ Ó¿²«¿´ô Ý¸ò ïíòëòï  Î»¿­±²¿¾´» ¿²¼ Ò»½»­­¿®§ Ð®±ª·­·±²­ ·² ÔÝÜ­ò

        ïéò    Ý×ÙÒß ¸¿- ·--«»¼ ÔÝÜ- ®»¹¿®¼·²¹ ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ·² Ì»²²»--»»ô

×¼¿¸± ¿²¼ Ò±®¬¸ Ý¿®±´·²¿ò ß¬¬¿½¸»¼ ¿- Û¨¸·¾·¬ ß ·- ¬¸» ß®¬·½´» º±® Ò±²·²ª¿-·ª» Ê¿-½«´¿® Í¬«¼·»-

øßíìëíï÷ ©¸·½¸ ¿¼¼®»-- ¬¸» ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ -¬¿¬«- ±º ²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»-ò

Í»» Û¨¸·¾·¬ ßô ¿¬¬¿½¸»¼ò

        ïèò    ß½½±®¼·²¹ ¬± ¬¸» ß®¬·½´» º±® Ò±²·²ª¿-·ª» Ê¿-½«´¿® Í¬«¼·»-ô ²±²·²ª¿-·ª» ª¿-½«´¿®

-¬«¼·»- ·²½´«¼» ¬¸» °»®º±®³¿²½» ±º ¬¸» -¬«¼·»- ¿²¼ °¿¬·»²¬ ½¿®» ®»¯«·®»¼ ¬± °»®º±®³ ¬¸» -¬«¼·»-ô

-«°»®ª·-·±² ±º ¬¸» -¬«¼·»- ¿²¼ ·²¬»®°®»¬¿¬·±² ±º ¬¸» -¬«¼§ ®»-«´¬- ©·¬¸ ½±°·»- º±® °¿¬·»²¬ ®»½±®¼- ±º

¸¿®¼½±°§ ±«¬°«¬ ±® ·³¿¹·²¹ ©¸»² °®±ª·¼»¼ò ×¬ ·- ¬¸» ®»-°±²-·¾·´·¬§ ±º ¬¸» °®±ª·¼»® ¬± »²-«®» ¬¸»

³»¼·½¿´ ²»½»--·¬§ ±º °®±½»¼«®»- ¿²¼ ¬± ³¿·²¬¿·² ¿ ®»½±®¼ º±® °±--·¾´» ¿«¼·¬ò           Ò±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼·»- ¿®» ³»¼·½¿´´§ ²»½»--¿®§ ±²´§ ·º ¬¸» ±«¬½±³» ©·´´ °±¬»²¬·¿´´§ ·³°¿½¬ ¬¸»

¼·¿¹²±-·- ±® ½´·²·½¿´ ½±«®-» ±º ¬¸» °¿¬·»²¬ò

        ïçò    Ì¸» ß®¬·½´» º±® Ò±²·²ª¿-·ª» Ê¿-½«´¿® Í¬«¼·»- -¬¿¬»- ¿- º±´´±©-æ

               ×¬ ·- ¬¸» ®»-°±²-·¾·´·¬§ ±º ¬¸» °®±ª·¼»® ¬± »²-«®» ¬¸» ³»¼·½¿´ ²»½»--·¬§
               ±º °®±½»¼«®»- ¿²¼ ¬± ³¿·²¬¿·² ¿ ®»½±®¼ º±® °±--·¾´» ¿«¼·¬ò
               Ò±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼·»- ¿®» ³»¼·½¿´´§ ²»½»--¿®§ ±²´§ ·º ¬¸»
               ±«¬½±³» ©·´´ °±¬»²¬·¿´´§ ·³°¿½¬ ¬¸» ¼·¿¹²±-·- ±® ½´·²·½¿´ ½±«®-» ±º ¬¸»
               °¿¬·»²¬ò Ý´·²·½·¿²- ¾·´´·²¹ Ó»¼·½¿®» ¿®» »²½±«®¿¹»¼ ¬± ±¾¬¿·²
               ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±² º®±³ ®»º»®®·²¹ °®±ª·¼»®- ¿²¼ñ±® °¿¬·»²¬- ±®



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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» ê ±º ïð                    Ð¿¹»×Ü ê



              ³»¼·½¿´ ®»½±®¼- ¬± ¼»¬»®³·²» ¬¸» ³»¼·½¿´ ²»½»--·¬§ ±º ¬¸» -¬«¼§ò
              Î»º»®®·²¹ °¸§-·½·¿²- ¿®» ®»¯«·®»¼ ¬± °®±ª·¼» ¿°°®±°®·¿¬» ¼·¿¹²±-¬·½
              ·²º±®³¿¬·±² ¬± ¬¸» °»®º±®³·²¹ ¬»½¸²±´±¹·-¬ñ°¸§-·½·¿²ò

              Ì·¬´» ÈÊ××× ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ Í»½¬·±² ïèêîø¿÷øé÷ »¨½´«¼»-
              ®±«¬·²» °¸§-·½¿´ »¨¿³·²¿¬·±² ¿²¼ -½®»»²·²¹ ¬»-¬- °»®º±®³»¼ ·² ¬¸»
              ¿¾-»²½» ±º -·¹²- ±® -§³°¬±³- º®±³ ½±ª»®¿¹»ò



                 Facts Pertaining To Relator Stephen McMullen


       îðò    Î»´¿¬±®ô Í¬»°¸»² Ó½Ó«´´»²ô ·- ¿² ±®·¹·²¿´ -±«®½» ©¸± ¸¿- ¼·®»½¬ ¿²¼ ·²¼»°»²¼»²¬

µ²±©´»¼¹» ±º ¬¸» ·²º±®³¿¬·±² ±² ©¸·½¸ ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸·- Ý±³°´¿·²¬ ¿®» ¾¿-»¼ ¿²¼ ¸¿-

ª±´«²¬¿®·´§ °®±ª·¼»¼ ¬¸» ·²º±®³¿¬·±² ¬± ¬¸» ¹±ª»®²³»²¬ ¾»º±®» º·´·²¹ ¿² ¿½¬·±² ¾¿-»¼ ±² ¬¸»

·²º±®³¿¬·±² ½±²¬¿·²»¼ ¸»®»·²ò

       îïò    Î»´¿¬±®ô Í¬»°¸»² Ó½Ó«´´»²ô ©±®µ»¼ º±® ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ·² Ó»³°¸·-ô

Ì»²²»--»» º®±³ ¿°°®±¨·³¿¬»´§ Ö«²» îððè ¬¸®±«¹¸ ß«¹«-¬ îððèò            Î»´¿¬±® ·- ¿ Î»¹·-¬»®»¼

Ê¿-½«´¿® Ì»½¸²±´±¹·-¬ øÎÊÌ÷ ½®»¼»²¬·¿´»¼ ¿²¼ ¿½½®»¼·¬»¼ ¾§ ¬¸» ß³»®·½¿² Î»¹·-¬®§ ±º

Ü·¿¹²±-¬·½ Ó»¼·½¿´ Í±²±¹®¿°¸»®-ò

       îîò    Ì§°·½¿´´§ô ¿ °¸§-·½·¿² ©·´´ -»» ¿ °¿¬·»²¬ ¿²¼ -»²¼ ¿² Ñ®¼»® ©·¬¸ ¬¸» ¿°°®±°®·¿¬»

¼·¿¹²±-¬·½ ·²º±®³¿¬·±² ¬± ¿ ®»¹·-¬»®»¼ ª¿-½«´¿® ¬»½¸²±´±¹·-¬ ¬± °»®º±®³ ¿ -½¿²ô ·ò»ò ²±²·²ª¿-·ª»

ª¿-½«´¿® -¬«¼§ò Ñ²½» ¬¸» -¬«¼§ ·- ½±²½´«¼»¼ô ¬¸» ¬»½¸²±´±¹·-¬ ¬¸»² -»´»½¬- ¬¸» ¿°°®±°®·¿¬» ×ÝÜóç

½±¼» ¾¿-»¼ ±² ¼·¿¹²±-¬·½ ·²º±®³¿¬·±² °®±ª·¼»¼ ¾§ ¬¸» °¸§-·½·¿² ©¸·½¸ ·²¼·½¿¬»- ¬¸» ®»¿-±² º±®

°»®º±®³·²¹ ¬¸» ¬»-¬ò Ì¸·- ×ÝÜóç Ý±¼» ·- «-»¼ º±® Ó»¼·½¿®» ¾·´´·²¹ °«®°±-»-ò Ð«®-«¿²¬ ¬±

Ý×ÙÒß­ ß®¬·½´» º±® Ò±²·²ª¿­·ª» Ê¿­½«´¿® Í¬«¼·»­ô ¬¸» ®»º»®®·²¹ °¸§­·½·¿² ·­ ®»¯«·®»¼ ¬±

°®±ª·¼» ¬¸·- ¼·¿¹²±-¬·½ ·²º±®³¿¬·±² -± ¬¸» ¬»½¸²±´±¹·-¬ ½¿² -»´»½¬ ¬¸» ¿°°®±°®·¿¬» ×ÝÜóç ½±¼»ò

Ì»½¸²±´±¹·-¬ ¼± ²±¬ ¸¿ª» ¬¸» ¿°°®±°®·¿¬» ¬®¿·²·²¹ ±® »¼«½¿¬·±² ¬± ¼»¬»®³·²» ¬¸» ®»¿-±² º±® ¬¸»

®»¯«»-¬»¼ -¬«¼§ ±® ¬¸» ¬®¿·²·²¹ ±® »¼«½¿¬·±² ¬± ¼»¬»®³·²» ©¸»¬¸»® ¬¸» ®»¯«»-¬»¼ -¬«¼§ ·-



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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» é ±º ïð                     Ð¿¹»×Ü é



³»¼·½¿´´§ ²»½»--¿®§ò Ì¸» ¬»½¸²±´±¹·-¬ ½¿²²±¬ ¼»¬»®³·²» ¬¸» ¿°°®±°®·¿¬» ×ÝÜóç Ý±¼» ©·¬¸ ¬¸»

¼·¿¹²±-¬·½ ·²º±®³¿¬·±² °®±ª·¼»¼ ¾§ ¬¸» °¸§-·½·¿²ò

       îíò     Î»´¿¬±® ¸¿- °»®-±²¿´ µ²±©´»¼¹» ¬¸¿¬ ¬¸» °¸§-·½·¿²- ¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½

®±«¬·²»´§ ¼± ²±¬ ·²½´«¼» ¬¸» ®»¯«·®»¼ ¼·¿¹²±-¬·½ ·²º±®³¿¬·±² ¬± ¬¸» ¬»½¸²±´±¹·-¬ °»®º±®³·²¹ ¬¸»

²±²·²ª¿-·ª» ª¿-½«´¿® -¬«¼§ò Ð«®-«¿²¬ ¬± °±´·½§ô ½«-¬±³ô ±® °®±½»¼«®» ±º ¬¸» Ó»³°¸·- Ø»¿®¬

Ý´·²·½ô ¬¸» ¬»½¸²±´±¹·-¬- ¿®» ²±²»ó¬¸»ó´»-- ®»¯«·®»¼ ¬± -»´»½¬ ¿² ×ÝÜóç ½±¼» ©¸·½¸ ©·´´ ¯«¿´·º§

º±® Ó»¼·½¿®» ½±ª»®¿¹» ®»·³¾«®-»³»²¬ò

       îìò     Î»´¿¬±® °»®-±²¿´´§ ©·¬²»--»¼ ²«³»®±«- ¬»½¸²±´±¹·-¬- -·³°´§ ¹«»--·²¹ ¿¬ ¿² ×ÝÜóç

½±¼» ©¸·½¸ ©±«´¼ ¯«¿´·º§ º±® Ó»¼·½¿®» ½±ª»®¿¹» ®»·³¾«®-»³»²¬ò ß¼¼·¬·±²¿´´§ô Î»´¿¬±® ¸¿¼

½±²ª»®-¿¬·±²- ©·¬¸ ¬»½¸²±´±¹·-¬- ©¸»®»·² ¸» ©¿- ¬±´¼ ¬¸¿¬ ·¬ ©¿- ½±³³±² °®¿½¬·½» º±® ¬¸»

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©±«´¼ ±®¼»® ¿² ¿®¬»®·¿´ ´±©»® »¨¬®»³·¬§ -¬«¼§ ±² ¿ °¿¬·»²¬ò Ø±©»ª»®ô ¬¸» °¸§-·½·¿² ¼·¼ ²±¬

°®±ª·¼» ¿²§ ¼·¿¹²±-¬·½ ·²º±®³¿¬·±² ·² ¬¸» Ñ®¼»® ¬± ¿´´±© ¬¸» ¬»½¸²±´±¹·-¬ ¬± -»´»½¬ ¬¸»

¿°°®±°®·¿¬» ×ÝÜóç ½±¼»ò ×² ¬¸·- °¿®¬·½«´¿® ¬§°» ±º ½·®½«³-¬¿²½»ô Î»´¿¬±® ©·¬²»--»¼ ¬¸¿¬ ¬¸» ³±-¬

°±°«´¿® ×ÝÜóç ½±¼» -»´»½¬»¼ ¾§ ¬»½¸²±´±¹·-¬- ©¿- ½´¿«¼·½¿¬·±²ô ©¸·½¸ ·- ¿ Ó»¼·½¿®» ¿°°®±ª»¼

-¬«¼§ò Ì¸» ¬»½¸²±´±¹·-¬ ¸¿¼ ²± ©¿§ ±º ¼»¬»®³·²·²¹ ©¸»¬¸»® ½´¿«¼·½¿¬·±² ©¿- ¬¸» ¿°°®±°®·¿¬»

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½±¼» ©¸·½¸ ©±«´¼ ¯«¿´·º§ º±® Ó»¼·½¿®» ½±ª»®¿¹» ®»·³¾«®-»³»²¬ ¿²¼ ¾»½¿«-» ½´¿«¼·½¿¬·±² ·- ¿

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¿¬ Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ¿²¼ ·- µ²±©² ¾§ »³°´±§»»- -«½¸ ¿- Ð¿«´ ß¼´»®ô Ü»²·-» Ù®¿ª»- ¿²¼




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Ý¿-» îæðèó½ªóðîëèéóÞÞÜó½¹½ Ü±½«³»²¬ ï Ú·´»¼ ðçñïðñðè Ð¿¹» è ±º ïð                        Ð¿¹»×Ü è



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·²º±®³¿¬·±² ¿²¼ ¬¸» -»´»½¬»¼ ×ÝÜóç ½±¼» ¯«¿´·º§·²¹ º±® Ó»¼·½¿®» ½±ª»®¿¹» ®»·³¾«®-»³»²¬ ©±«´¼

²±¬ ³¿¬½¸ ¬¸» ®»¿-±² º±® ¬¸» °¿¬·»²¬ -¬«¼§ò

          îéò   Î»´¿¬±® ©¿- ¿¼ª·-»¼ ¾§ ¬»½¸²±´±¹·-¬- »³°´±§»¼ ¿¬ ¬¸» Ó»³°¸·- Ø»¿®¬ Ý´·²·½ ¬¸¿¬

¬¸»§ ©±«´¼ ®»½»·ª» ·²¬»®±ºº·½» »ó³¿·´ º®±³ ¬¸» ¸±-°·¬¿´ ¿¼³·²·-¬®¿¬·±² ±® ¾·´´·²¹ ¼»°¿®¬³»²¬

©¸»² ¬¸» ¬»½¸²±´±¹·-¬- -»´»½¬»¼ ²±²ó®»·³¾«®-¿¾´» ×ÝÜóç ½±¼»-ô ®»¯«·®·²¹ ¬¸»³ ¬± ½¸¿²¹» ¬¸»

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                                      CLAIM FOR RELIEF

                   VIOLATION OF 31 §U.S.C. 3729(a)(1), (a)(2), and (a)(3)

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 Case 3:12-cv-00501 Document 34-1 Filed 06/18/13 Page 26 of 97 PageID #: 225
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                            Exhibit C




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                            Exhibit D




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                ÝÑÒÍÑÔ×ÜßÌÛÜ Ú×ÒßÒÝ×ßÔ
                ÍÌßÌÛÓÛÒÌÍ ßÒÜ ÍËÐÐÔÛÓÛÒÌßÎÇ
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                                              Ascension Health Alliance

                                       Consolidated Financial Statements
                                        and Supplementary Information

                                         Years Ended June 30, 2012 and 2011




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                                                                        Ernst & Young LLP
                                                                        The Plaza in Clayton Suite 1300
                                                                        190 Carondelet Plaza
                                                                        St. Louis, MO 63105-3434
                                                                        Tel: +1 314 290 1000
                                                                        Fax: +1 314 290 1882
                                                                        www.ey.com



                               Report of Independent Auditors

The Board of Directors
Ascension Health Alliance

We have audited the accompanying consolidated balance sheets of Ascension Health Alliance
(as identified in Note 1) as of June 30, 2012 and 2011, and the related consolidated statements of
operations and changes in net assets and cash flows for the years then ended. These financial
statements are the responsibility of Ascension H
is to express an opinion on these financial statements based on our audits.

We conducted our audits in accordance with auditing standards generally accepted in the United
States. Those standards require that we plan and perform the audit to obtain reasonable assurance
about whether the financial statements are free of material misstatement. We were not engaged
to perform an audit of Ascension Health Alliance
audits included consideration of internal control over financial reporting as a basis for designing
audit procedures that are appropriate in the circumstances, but not for the purpose of expressing
an opinion on the effectiveness of
reporting. Accordingly, we express no such opinion. An audit also includes examining, on a test
basis, evidence supporting the amounts and disclosures in the financial statements, assessing the
accounting principles used and significant estimates made by management, and evaluating the
overall financial statement presentation. We believe that our audits provide a reasonable basis for
our opinion.

In our opinion, the financial statements referred to above present fairly, in all material respects,
the consolidated financial position of Ascension Health Alliance at June 30, 2012 and 2011, and
the consolidated results of its operations and changes in net assets and its cash flows for the years
then ended in conformity with accounting principles generally accepted in the United States.




September 12, 2012




1202-1331175                                                                                                            1
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                                                                        A member firm of Ernst & Young Global Limited
                                  Ascension Health Alliance

                        Notes to Consolidated Financial Statements
                                      øÜ±´´¿®- ·² Ì¸±«-¿²¼-÷

                                           June 30, 2012


1. Organization and Mission

Organizational Structure

Ascension Health Alliance is a Missouri nonprofit corporation formed on September 13, 2011.
Ascension Health Alliance is the sole corporate member and parent organization of Ascension
Health, a Catholic national health system consisting primarily of nonprofit corporations that own
and operate local healthcare facilities, or Health Ministries, located in 21 of the United States and
the District of Columbia.

In addition to serving as the sole corporate member of Ascension Health, Ascension Health
Alliance serves as the member or shareholder of various other subsidiaries, including Ascension
Health Global Mission; Ascension Health Insurance, Ltd.; Edessa Insurance Company, Ltd.; the
Resource Group, LLC; Clinical Holdings Corporation; Catholic Healthcare Investment
Management Company (CHIMCO); Ascension Health Ventures, LLC; Ascension Health
Leadership Academy, LLC; and AH Holdings, LLC. Ascension Health Alliance and its member
organizations are referred to collectively as the System.

Sponsorship

Ascension Health Alliance is sponsored by Ascension Health Ministries, a Public Juridic Person.
The Participating Entities of Ascension Health Ministries are the Daughters of Charity of
St. Vincent de Paul in the United States, St. Louise Province, the Congregation of St. Joseph, the
Congregation of the Sisters of St. Joseph of Carondelet, and the Congregation of Alexian
Brothers of the Immaculate C
in the Organizational Changes note, Alexian Brothers Health System, which was previously
sponsored by the Congregation of Alexian Brot
American Province, became part of Ascension Health on January 1, 2012.

Mission

The System directs its governance and management activities toward strong, vibrant, Catholic
Health Ministries united in service and healing, and dedicates its resources to spiritually centered
care which sustains and improves the health of the individuals and communities it serves. In
                                   ssion of service to those persons living in poverty and other
vulnerable persons, each Health Ministry accepts patients regardless of their ability to pay. The




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                            Exhibit E




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QualityReport                                                                                                               Page 1 of 4




Accreditation                Quality Report                                                                            Baptist Hospital
                                                                                                                            Org ID: 7884
Quality Report                                                                                                        2000 Church Street
 > Summary of
                             Summary of Quality Information                                                          Nashville, TN 37236
   Accreditation Quality                                                                                                 (615)284-5555
   Information                                                                                              www.baptisthospital.com
 > Accredited
   Programs
                             Accreditation                   Accreditation              Effective        Last Full       Last On-Site
 > Accreditation             Programs                        Decision                   Date             Survey Date     Survey Date
   National Patient
                                  Hospital                   Accredited                 4/9/2011         4/8/2011        4/8/2011
   Safety Goals
 > Sites   and Services
 > Accreditation             Accreditation programs recognized by the Centers for Medicare and Medicaid Services (CMS)
   History                   Hospital

 > Download
   Accreditation PDF
   Report                     Advanced Certification          Certification       Effective         Last Full            Last On-Site
                              Programs                        Decision            Date              Review Date          Review Date
 > Download
   Accreditation PDF              Inpatient Diabetes          Certification       6/2/2012          6/1/2012             6/1/2012
   Report - Include
   Quarterly Data                 Primary Stroke Center       Certification       6/2/2012          6/1/2012             6/1/2012

 > Accreditation
   Quality Report User
   Guide
                              Certified                       Certification       Effective         Last Full            Last On-Site
Certification                 Programs                        Decision            Date              Review Date          Review Date
Quality Report
 > View                           Joint Replacement - Hip     Certification       6/2/2012          6/1/2012             6/1/2012
        Certification
   Quality Report
                                  Joint Replacement - Knee    Certification       6/2/2012          6/1/2012             6/1/2012




                              - Top -

      Symbol Key             National Patient Safety Goals and National Quality Improvement Goals
      This organization
      achieved the best                                                                                       Compared to other Joint
      possible results                                                                                        Commission Accredited
                                                                                                                  Organizations
      This organization’s
      performance is above                                                                                  Nationwide       Statewide
      the target
      range/value.                                                                                                                      *
      This organization’s     Hospital             2011 National Patient Safety Goals       See Detail
      performance is similar
      to the target
      range/value.                                 National Quality Improvement Goals:
      This organization’s    Reporting Period:
      performance is below Oct 2011 -
      the target             Sep 2012
                                                   Heart Attack Care                        See Detail
      range/value.
      This measure is not
      applicable for this                          Heart Failure Care                       See Detail
      organization.
      Not displayed
                                                   Pneumonia Care                           See Detail

      Footnote Key                                 Surgical Care Improvement Project (SCIP)
 1.
      The measure or                               SCIP - Cardiac                           See Detail
      measure set was not



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http://www.qualitycheck.org/qualityreport.aspx?hcoid=7884                                                                    6/17/2013
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                                                    SCIP - Infection Prevention
    reported.                                       For All Reported Procedures:
                                                                                              See Detail
2. The measure set does
    not have an overall
    result.                                           l Blood Vessel Surgery                  See Detail
3. The number is not
    enough for                                        l Colon/Large Intestine Surgery         See Detail
    comparison purposes.
4. The measure meets                                  l Coronary Artery Bypass Graft          See Detail
    the Privacy Disclosure
    Threshold rule.
5. The organization
                                                      l Hip Joint Replacement                 See Detail
    scored above 90% but
    was below most other                              l Hysterectomy                          See Detail
    organizations.
6. The measure results                                l Knee Replacement                      See Detail
    are not statistically
    valid.
7. The measure results                                l Open Heart Surgery                    See Detail
    are based on a sample
    of patients.                                    SCIP – Venous Thromboembolism (VTE)       See Detail
8. The number of
    months with measure                             Survey of Patients' Hospital Experiences (see details)
    data is below the                              Hospitals voluntarily participate in the Survey of Patients' Hospital Experiences(HCAHPS).
    reporting                                      Pediatric and psychiatric hospitals are not eligible to participate in the HCAHPS survey
    requirement.                                   based on their patient population.
9. The measure results
    are temporarily                                      The Joint Commission only reports measures endorsed by the      National Quality
    suppressed pending
    resubmission of
                                                         Forum.
    updated data.                                  * State results are not calculated for the National Patient Safety Goals.
10. Test Measure: a
    measure being            - Top -
    evaluated for
    reliability of the
    individual data          Sites and Services
    elements or awaiting     * Primary Location
    National Quality
    Forum Endorsement.
                             An organization may provide services not listed here. For more information refer to the   Quality Report User
                             Guide .

                             Locations of Care                 Available Services
                             Baptist Hospital *                Joint Commission Advanced Certification        Programs:
                             2000 Church Street                    l Inpatient Diabetes
                             Nashville, TN 37236                   l Primary Stroke Center
                                                               Joint Commission Certified Programs:
                                                                   l Joint Replacement - Hip
                                                                   l Joint Replacement - Knee
                                                               Services:
                                                                   l Brachytherapy                   l        Neurosurgery (Surgical
                                                                      (Imaging/Diagnostic Services)           Services)
                                                                   l Cardiac Catheterization Lab     l        Normal Newborn Nursery
                                                                      (Surgical Services)                     (Inpatient)
                                                                   l Cardiac Surgery (Surgical       l        Nuclear Medicine
                                                                      Services)                               (Imaging/Diagnostic Services)
                                                                   l Cardiothoracic Surgery          l        Orthopedic Surgery (Surgical
                                                                      (Surgical Services)                     Services)
                                                                   l Cardiovascular Unit (Inpatient) l        Orthopedic/Spine Unit
                                                                   l Coronary Care Unit (Inpatient)           (Inpatient)
                                                                   l CT Scanner                      l        Pediatric Emergency Medicine
                                                                      (Imaging/Diagnostic Services)           (Outpatient - Child/Youth)
                                                                   l Dialysis Unit (Inpatient)       l        Pediatric General Surgery
                                                                   l Ear/Nose/Throat Surgery                  (Inpatient - Child/Youth)
                                                                      (Surgical Services)                     (Outpatient - Child/Youth)
                                                                   l EEG/EKG/EMG Lab                 l        Pediatric Otolaryngology
                                                                      (Imaging/Diagnostic Services)           (Inpatient - Child/Youth)
                                                                   l Gastroenterology (Surgical               (Outpatient - Child/Youth)
                                                                      Services)                      l        Plastic Surgery (Surgical
                                                                   l GI or Endoscopy Lab                      Services)
                                                                      (Imaging/Diagnostic Services)  l        Positron Emission Tomography
                                                                   l Gynecological Surgery                    (PET) (Imaging/Diagnostic
                                                                      (Surgical Services)                     Services)
                                                                   l Hematology/Oncology Unit        l        Post Anesthesia Care Unit
                                                                      (Inpatient)                             (PACU) (Inpatient)
                                                                   l Interventional Radiology        l        Radiation Oncology




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http://www.qualitycheck.org/qualityreport.aspx?hcoid=7884                                                                       6/17/2013
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                                                              (Inpatient, Outpatient,           (Imaging/Diagnostic Services)
                                                              Imaging/Diagnostic Services)    l Sleep Laboratory (Sleep
                                                          l   Labor & Delivery (Inpatient)      Laboratory)
                                                          l   Magnetic Resonance Imaging      l Surgical ICU (Intensive Care
                                                              (Imaging/Diagnostic Services)     Unit)
                                                          l   Medical /Surgical Unit          l Surgical Unit (Inpatient)
                                                              (Inpatient)                     l Teleradiology
                                                          l   Medical ICU (Intensive Care       (Imaging/Diagnostic Services)
                                                              Unit)                           l Thoracic Surgery (Surgical
                                                          l   Neuro/Spine Unit (Inpatient)      Services)
                                                                                              l Ultrasound
                                                                                                (Imaging/Diagnostic Services)
                                                                                              l Urology (Surgical Services)
                                                                                              l Vascular Surgery (Surgical
                                                                                                Services)

                    Baptist Hospital - Diabetes       Services:
                    Center                                l Outpatient Clinics (Outpatient)
                    2010 Church Street
                    Nashville, TN 37203

                    Baptist Hospital Outpatient       Services:
                    Cardiac Imaging                       l Outpatient Clinics (Outpatient)
                    222 22nd Avenue North
                    Nashville, TN 37203

                    Baptist Medical Plaza I - Life    Services:
                    Therapies, Nashville TN               l Outpatient Clinics (Outpatient)
                    2011 Church Street, Ste. 105
                    Nashville, TN 37203

                    Baptist Sport Medicine/Life       Services:
                    Therapies - Cool Springs              l Outpatient Clinics (Outpatient)
                    101 International Blvd.
                    Franklin, TN 37067

                    Baptist Sports Medicine -         Services:
                    Antioch/Lavergne                      l Outpatient Clinics (Outpatient)
                    3534 Murfreesboro Pike, Ste.
                    101
                    Antioch, TN 37013

                    Baptist Sports Medicine -         Services:
                    Bellevue, Nashville TN                l Outpatient Clinics (Outpatient)
                    7640 Highway 70 South, Suite
                    104
                    Nashville, TN 37221

                    Baptist Sports Medicine -         Services:
                    Gordon Jewish Community               l Outpatient Clinics (Outpatient)
                    Center
                    801 Percy Warner Blvd.
                    Nashville, TN 37215

                    Baptist Sports Medicine -         Services:
                    Lipscomb                              l Outpatient Clinics (Outpatient)
                    3901 Granny White Pike
                    Nashville, TN 37215

                    Baptist Sports Medicine - Plaza   Services:
                    II, Nashville TN                      l Outpatient Clinics (Outpatient)
                    2021 Church Street
                    Nashville, TN 37204

                    Baptist Sports Medicine -         Services:
                    Pleasant View                         l Outpatient Clinics (Outpatient)
                    254 Ren-Mar Blvd.
                    Pleasant View, TN 37146

                    Baptist Sports Medicine -         Services:
                    Rivergate, Madison TN                 l Outpatient Clinics (Outpatient)
                    1777 Gallatin Pike, North
                    Madison, TN 37115

                    Baptist Sports Medicine - Spring Services:
                    Hill, TN                             l Outpatient Clinics (Outpatient)
                    2009 Wall Street
                    Spring Hill, TN 37174




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http://www.qualitycheck.org/qualityreport.aspx?hcoid=7884                                                           6/17/2013
QualityReport                                                                                                       Page 4 of 4



                          Baptist Sports Medicine - White   Services:
                          House                                 l Outpatient Clinics (Outpatient)
                          491 Sage road
                          White House, TN 37188

                          Diagnostic Radiology-Franklin  Services:
                          4323 North Carothers Suite 310     l Outpatient Clinics (Outpatient)
                          Franklin, TN 37067

                          STHS Heart - Goodlettsville       Services:
                          900 Conference Drive, Ste. 8          l Outpatient Clinics (Outpatient)
                          Goodlettsville, TN 37072

                          UT Medical Resident's Clinic      Services:
                          1911 State Street                     l Outpatient Clinics (Outpatient)
                          Nashville, TN 37203


                          - Top -

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 employees …Read more.

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http://www.qualitycheck.org/qualityreport.aspx?hcoid=7884                                                            6/17/2013
                            Exhibit F




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           Medicare Administrative Contractor Award
                for Jurisdiction 10 Part A/Part B
                         (J10 A/B MAC)
 -- CAHABA GOVERNMENT BENEFIT ADMINISTRATORS, LLC --

                                 Background Sheet

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 The Öïð A/B MAC Award

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                            Exhibit G




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RETIRED LCD: Centers for Medicare & Medicaid Services                               Page 1 of 27




                                                                              Create PDF Now

LCD for Noninvasive Vascular Studies (L1352)




Please note: This is a Retired LCD.

                                  Contractor Information




 Contractor Name
 BlueCross BlueShield of Tennessee (Riverbend Government Benefits Administrator)
 Contractor Number
 00390
 Contractor Type
 FI



                                      LCD Information




 LCD ID Number
 L1352


 LCD Title
 Noninvasive Vascular Studies


 Contractor's Determination Number
 1352



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RETIRED LCD: Centers for Medicare & Medicaid Services                                        Page 2 of 27



                                        LCD Information


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CMS National Coverage Policy
Title XVIII of the Social Security Act, Section 1862 (a)(1)(A). This section excludes coverage of
items or services that are not reasonable and necessary for the diagnosis or treatment of illness or
injury or to improve the functioning of a malformed body member.

Title XVIII of the Social Security Act, Section 1862 (a)(7). This section prohibits Medicare
payment for any expenses on items and services incurred for routine physical examinations.

Title XVIII of the Social Security Act, Section 1833 (e). This section prohibits Medicare
payment for any claim that lacks the necessary information to process the claim.

Medicare Coverage Issue Manual, Section 50-6. This section covers payable procedures and
indications for plethysmography.

Medicare Coverage issue Manual, section 50-7. This section covers payable procedures and
indications for ultrasound diagnostic procedures.


Primary Geographic Jurisdiction
Tennessee



Oversight Region
Region IV



Original Determination Effective Date
For services performed on or after 12/27/1996


Original Determination Ending Date

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RETIRED LCD: Centers for Medicare & Medicaid Services                                       Page 3 of 27



                                       LCD Information
08/02/2009


Revision Effective Date
For services performed on or after 09/01/2008


Revision Ending Date
08/02/2009


Indications and Limitations of Coverage and/or Medical Necessity
                           Description of Noninvasive Vascular Studies


Vascular studies include patient care required to perform the studies, supervision of the studies
and interpretation of study results with copies for patient records of hard copy output or imaging
when provided. The use of a simple hand-held or other Doppler device that does not produce
hard copy output, or that does not permit analysis of bi-directional vascular flow, is considered
part of the physical examination of the vascular system and is not separately reimbursable.
Doppler procedures performed with zero-crossers (i.e. analog [strip chart recorder] analysis) are
also included.


                           CEREBROVASCULAR EXAMINATION


HCPC Codes 93875 and 93880 through 93888

Indications for Cerebrovascular Examination:


      1. Cervical bruits

      2. Amaurosis fugax

      3. Focal cerebral or ocular transient ischemic attacks (i.e., localizing symptoms, weakness
      of one side of the face, slurred speech, weakness of a limb). Ocular transient ischemic
      attacks are defined as visual field deficits and not temporary blurred vision.

      4. Drop attacks or syncope are rare indications primarily seen with vertebrobasilar or
      bilateral carotid artery disease. Incoordianation or limb dysfunction should be grouped
      with unilateral weakness of the face or extremities.

      5. CVA




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                                       LCD Information

Examples of Signs and Symptoms That Do Not Demonstrate Medical Necessity:


      1. Dizziness is not a typical indication unless associated with other localizing signs or
      symptoms. However, episodic dizziness with symptom characteristics typical of transient
      ischemic attacks may indicate medical necessity, especially when other more common
      sources (e.g., postural hypotension or transiently decreased cardiac output as demonstrated
      by cardiac events monitoring) have been previously excluded.

      2. Headaches are not an indication of extracranial studies.


Acceptable Procedures for Reimbursement:


      1. Duplex scan (93880 or 93882)

      2. Doppler ultrasound with spectrum analysis (93875)

      3. Oculopneumoplethysmography (OPPG) (93875)

      4. Periorbital Doppler (93875) when OPPG is contraindicated

      5. Transcranial Doppler (TCD) (see below) (93886 or 93888)


Multiple cerebrovascular procedures can be allowed during the same encounter given the
provider can demonstrate medical necessity. That is, physiologic studies and a duplex scan are
allowed on the same date of service given the provider is able to document medical necessity
(e.g., greater than or equal to 50% stenosis on duplex scan or significant symptoms as
demonstrated by the indications for the study) on post-payment audit.

Methods not Acceptable for Reimbursement:


      1. Pulse delay oculoplethysmography

      2. Carotid phonoangiography and other forms of bruit analysis are covered services but are
      included in the reimbursement for the office visit

      3. Periorbital photoplethysmography


Recommendations for Follow-up Studies:


      1. Stenosis of 20-50%, an annual study


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                                       LCD Information
      2. Stenosis of 50-79%, every six months

      3. Stenosis of 80-99%, surgery is usually recommended

      4. After carotid endarterectomy, repeat examinations are allowed at six weeks, six months,
      one year and annually thereafter


Transcranial Doppler (TCD) (93886 or 93888)

TCD is an allowed procedure and is of established value in:


      1. Detecting severe stenosis (> 65%) in the major basal intracranial arteries

      2. Assessing patterns and extent of collateral circulation in patients with known regions of
      severe stenosis or occlusion

      3. Evaluating and following patients with vasoconstriction of any cause especially after
      subarachnoid hemorrhage

      4. Detecting arteriovenous malformations and studying their supply arteries and flow
      patterns

      5. Assessing patients with suspected brain death

      6. Shunt study evaluation as the etiology of CVA’s


Examples of non-acceptable indications include:


      1. Evaluation of brain tumors

      2. Assessment of familiar and degenerative diseases of the cerebrum, brainstem,
      cerebellum, basal ganglia and motor neurons

      3. Evaluation of infectious and inflammatory conditions

      4. Psychiatric disorders

      5. Epilepsy


The following applications are in the research phase and are considered investigational:


      1. Assessing patients with migraine


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                                      LCD Information
      2. Monitoring during carotid endarterectomy cardiopulmonary bypass and other
      cerebrovascular and cardiovascular interventions, and surgical procedures

      3. Evaluation of patients with dilated vasculopathies such as fusiform aneurysms

      4. Assessing autoregulation, physiologic, and pharmacological response of cerebral
      arteries

      5. Evaluating children with various vasculopathies such as sickle cell disease, moya moya,
      and neurofibromatosis



                        PERIPHERAL ARTERIAL EXAMINATION


HCPC Codes 93922 through 93931

Noninvasive peripheral arterial examinations, performed to establish the level and/or degree of
arterial occlusive disease, are medically necessary if (1) significant signs and/or symptoms of
limb ischemia are present and (2) the patient is a candidate for invasive therapeutic procedures.
A routine history and physical examination, which includes Ankle/Brachial Indices (ABIs), can
readily document the presence or absence of ischemic disease in a majority of cases.

An ABI should be abnormal (i.e., <0.9 at rest) and must be accompanied by another appropriate
indication before proceeding to more sophisticated or complete studies, except in patients with
severe diabetes resulting in medial calcification as demonstrated by artifactually elevated ankle
blood pressures.

Indications for Peripheral Arterial Evaluations


      1. Claudication of less than one block or of such severity that it interferes significantly
      with the patient’s occupation or lifestyle. Also abnormal ABIs and/or segmented pressures.

      2. Rest pain (typically including the forefoot), usually associated with absent pulses, which
      becomes increasingly severe with elevation and diminishes with placement of the leg in a
      dependent position.

      3. Tissue loss defined as gangrene or pregangreneous changes of the extremity, or
      ischemic ulceration of the extremity occurring in the absence of pulses.

      4. Aneurysmal disease

      5. Evidence of thromboembolic events

      6. Blunt or penetrating trauma (including complications of diagnostic and/or therapeutic
      procedures)


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      7. For evaluation of dialysis access, see policy regarding CPT code 93990


Examples of Signs and Symptoms that Do Not Indicate Medical Necessity


      1. Continuous burning of the feet is considered to be a neurologic symptom.

      2. "Leg Pain, nonspecific," and "Pain in limb" as a single diagnosis are too general to
      warrant further investigation unless they can be related to other signs and symptoms.

      3. Edema rarely occurs with arterial occlusive disease unless it is in the immediate
      postoperative period, in association with another inflammatory process or in association
      with rest pain.

      4. Absence of relatively minor pulses (i.e., dorsalis pedis or posterior tibial) in the absence
      of symptoms. The absence of pulses is not an indication to proceed beyond the physical
      examination unless it is related to other signs and/or symptoms


Acceptable Procedures for Reimbursement


      1. Duplex scan (93925, 93926, 93930, or 93931)

      2. Single level physiologic studies (e.g., Doppler waveform analysis, volume
      plethysmography, granscutaneous oxygen tension measurement) (93922)

      3. Segmental physiologic studies or with provacative functional maneuvers (93923)

      4. Physiologic studies at rest and following treadmill stress testing (93924)


Transcutaneous oxygen tension measurements are acceptable to evaluate healing potential in
nonhealing or difficult to heal wounds at a frequency of no greater than twice in any 60 day
period.

Duplex scanning and physiologic studies are reimbursed during the same encounter if the
physiologic studies are abnormal and/or to evaluate vascular trauma, thromboembolic events or
aneurysmal disease.

Methods Not Acceptable for Reimbursement


      1. Mechanical Oscillometry

      2. Inductance Plethysmography


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                                       LCD Information
      3. Capacitance Plethysmography

      4. Photoelectric Plethysmography

      5. ABI (considered part of the physical examination)


Post-Intervention Follow-up Studies

Duplex post-interventional follow-up studies are typically limited in scope and unilateral in
nature. Consequently, the "complete" duplex scan codes (i.e., 93925 or 93930) should seldom be
used while the "unilateral or limited study codes" (i.e., 93926 or 93931) should be typically used:


      1. In the immediate post-operative period, patients may be studied if re-established pulses
      are lost, become equivocal, or if the patient develops related signs and/or symptoms of
      ischemia with impending repeat intervention.

      2. Follow-up studies may be appropriate at three month intervals the first year, six month
      intervals, the second year and annually thereafter for autogenous bypass surgeries, post-
      angioplasty and synthetic graft insertions of the lower extremities


Screening of the asymptomatic patient is not covered by Medicare.

                         PERIPHERAL VENOUS EXAMINATIONS


HCPCS Codes 93965 through 93971

Indications for venous examinations are separated into two major categories: deep vein
thromobsis and chronic venous insufficiency. Studies are medically necessary only if the patient
is a candidate for anticoagulation or invasive therapeutic procedures.

Since the signs and symptoms of arterial occlusive disease and venous disease are so divergent,
the performance of simultaneous arterial and venous studies during the same encounter should be
rare. Consequently, a document clearly supporting the medical necessity of both procedures
performed during the same encounter must be available for post-payment audit.

Deep Vein Thrombosis (DVT)

VT is the most common vascular disorder that develops in hospitalized patients and can develop
after trauma or prolonged immobility (sitting or bedrest). Unfortunately, the signs and/or
symptoms of DVT are relatively non-specific and, due to the risk associated with pulmonary
embolism (PE), objective testing is allowed in patients that are candidates for anticoagulation or
invasive therapeutic procedures for the following indications:




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      1. Clinical signs and/or symptoms of DVT including edema, tenderness, inflammation,
      and/or erythema

      2. Clinical signs and/or symptoms of PE including hemoptysis, chest pain, pnea, hypoxia
      and/or respiratory failure

      3. Unexplained lower extremity edema status-post major surgical procedures

      4. High risk patients: hip surgery, multiple trauma, malignancy, etc.


Bilateral limb edema in the presence of signs and/or symptoms of congestive heart failure.
exogenous obesity and/or arthritis should rarely be an indication except in high risk populations
(e.g., status-post major surgical procedures).

Chronic Venous Insufficiency

Chronic venous insufficiency may be divided into three categories: primary varicose veins, post-
thrombotic (post-phlebitic) syndrome, and recurrent DVT. It is not medically necessary to study
primary varicose veins. Objective tests of venous function may be indicated in patients with
ulceration suspected to be secondary to venous insufficiency in order to confirm this diagnosis
by documenting venous valvular incompetence prior to treatment. Evaluation is medically
necessary in patients with symptoms of recurrent DVT.

Acceptable Procedures for Reimbursement


      1. Duplex scan (93970 or 93971)

      2. Doppler waveform analysis including responses to compression and other maneuvers
      (93965)

      3. Impedance Plethysmography (93965)

      4. Air Plethysmography (93965)

      5. Strain Gauge Plethsmography (93965)


Methods Not Acceptable for Reimbursement


      1. Mechanical Oscillometry

      2. Inductance Plethysmography

      3. Capacitance Plethysmography


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      4. Photoelectric Plethysmography


Performance of both duplex scanning (93970 or 93971) and physiological tests (93965) of
extremity veins during the same encounter is not medically necessary.

                        HEMODIALYSIS ACCESS EXAMINATION

HCPCS Code 93990

Limited coverage has been established for duplex scanning of hemodialysis access sites in
patients with end stage renal disease (ESRD). These procedures are medically necessary only in
the presence of signs or symptoms of possible failure of the access site and when the results may
impact the clinical course of the patient.

Appropriate indications for Duplex scan of hemodialysis access sites include:

1. ICD-9-CM code 996.73: Complication (Complication NOS, occlusion NOS, embolism,
fibrosis, hemorrhage, pain, stenosis, thrombosis) due to renal dialysis device, implant, and graft.

Clear documentation in the dialysis record of signs of chronic (i.e., 3 successive dialysis
sessions) of abnormal function including:


      a. difficult cannulation by multiple personnel

      b. thrombus aspiration by multiple personnel

      c. elevated venous pressure greater than 200 mmHg on a 300 cc/min pump

      d. elevated recirculation time of 15% or greater

      e. low urea reduction rate of less than 60%, or

      f. shunt collapse suggesting poor arterial inflow



Routine evaluation on a daily or weekly basis without evidence of the above is considered
screening and is not a covered service.

               ULTRASOUND GUIDED REPAIR OF PSEUDOANEURYSM


HCPC Code 76936

Diagnosis of pseudoaneurysm is primarily based on history and physical examination. The code


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76936 includes codes 93926 and 93931, and these procedures are not separately reimbursable.

Acceptable indications include a pulsatile mass indicating a pseudoaneurysm. When performed
in conjunction with the invasive procedure, 76936 is considered part of the invasive procedure
and is not separately reportable.




                                      Coding Information




Bill Type Codes:

Contractors may specify Bill Types to help providers identify those Bill Types typically
used to report this service. Absence of a Bill Type does not guarantee that the policy does
not apply to that Bill Type. Complete absence of all Bill Types indicates that coverage is not
influenced by Bill Type and the policy should be assumed to apply equally to all claims.

 12x                Hospital-inpatient or home health visits (Part B only)
 13x                Hospital-outpatient (HHA-A also) (under OPPS 13X must be used for ASC
                    claims submitted for OPPS payment -- eff. 7/00)
 14x                Non-Patient Laboratory Specimens
 15x                Hospital-intermediate care - level I
 16x                Hospital-intermediate care - level II
 17x                Hospital-intermediate care - level III
 18x                Hospital-swing beds
 19x                Hospital-reserved for national assignment
 21x                SNF-inpatient, Part A



Revenue Codes:

Contractors may specify Revenue Codes to help providers identify those Revenue Codes
typically used to report this service. In most instances Revenue Codes are purely advisory;
unless specified in the policy services reported under other Revenue Codes are equally
subject to this coverage determination. Complete absence of all Revenue Codes indicates
that coverage is not influenced by Revenue Code and the policy should be assumed to apply
equally to all Revenue Codes.

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                                    Coding Information


 048X              Cardiology-general classification
 0921              Other diagnostic services-peripheral vascular lab



CPT/HCPCS Codes
 Ultrasonic Guidance Procedures
 76936             ULTRASOUND GUIDED COMPRESSION REPAIR OF ARTERIAL
                   PSEUDOANEURYSM OR ARTERIOVENOUS FISTULAE
                   (INCLUDES DIAGNOSTIC ULTRASOUND EVALUATION,
                   COMPRESSION OF LESION AND IMAGING)

 Cerebrovascular Arterial Studies
 93875             NONINVASIVE PHYSIOLOGIC STUDIES OF EXTRACRANIAL
                   ARTERIES, COMPLETE BILATERAL STUDY (EG, PERIORBITAL
                   FLOW DIRECTION WITH ARTERIAL COMPRESSION, OCULAR
                   PNEUMOPLETHYSMOGRAPHY, DOPPLER ULTRASOUND
                   SPECTRAL ANALYSIS)
  93880            DUPLEX SCAN OF EXTRACRANIAL ARTERIES; COMPLETE
                   BILATERAL STUDY
  93882            DUPLEX SCAN OF EXTRACRANIAL ARTERIES; UNILATERAL OR
                   LIMITED STUDY
  93886            TRANSCRANIAL DOPPLER STUDY OF THE INTRACRANIAL
                   ARTERIES; COMPLETE STUDY
  93888            TRANSCRANIAL DOPPLER STUDY OF THE INTRACRANIAL
                   ARTERIES; LIMITED STUDY

 Extremity Arterial Studies (Including Digits)
  93922              NONINVASIVE PHYSIOLOGIC STUDIES OF UPPER OR LOWER
                     EXTREMITY ARTERIES, SINGLE LEVEL, BILATERAL (EG,
                     ANKLE/BRACHIAL INDICES, DOPPLER WAVEFORM ANALYSIS,
                     VOLUME PLETHYSMOGRAPHY, TRANSCUTANEOUS OXYGEN
                     TENSION MEASUREMENT)
  93923            NONINVASIVE PHYSIOLOGIC STUDIES OF UPPER OR LOWER
                   EXTREMITY ARTERIES, MULTIPLE LEVELS OR WITH
                   PROVOCATIVE FUNCTIONAL MANEUVERS, COMPLETE
                   BILATERAL STUDY (EG, SEGMENTAL BLOOD PRESSURE
                   MEASUREMENTS, SEGMENTAL DOPPLER WAVEFORM
                   ANALYSIS, SEGMENTAL VOLUME PLETHYSMOGRAPHY,
                   SEGMENTAL TRANSCUTANEOUS OXYGEN TENSION
                   MEASUREMENTS, MEASUREMENTS WITH POSTURAL


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                              Coding Information
                   PROVOCATIVE TESTS, MEASUREMENTS WITH REACTIVE
                   HYPEREMIA)
  93924            NONINVASIVE PHYSIOLOGIC STUDIES OF LOWER EXTREMITY
                   ARTERIES, AT REST AND FOLLOWING TREADMILL STRESS
                   TESTING, COMPLETE BILATERAL STUDY
  93925            DUPLEX SCAN OF LOWER EXTREMITY ARTERIES OR ARTERIAL
                   BYPASS GRAFTS; COMPLETE BILATERAL STUDY
  93926            DUPLEX SCAN OF LOWER EXTREMITY ARTERIES OR ARTERIAL
                   BYPASS GRAFTS; UNILATERAL OR LIMITED STUDY
  93930            DUPLEX SCAN OF UPPER EXTREMITY ARTERIES OR ARTERIAL
                   BYPASS GRAFTS; COMPLETE BILATERAL STUDY
  93931            DUPLEX SCAN OF UPPER EXTREMITY ARTERIES OR ARTERIAL
                   BYPASS GRAFTS; UNILATERAL OR LIMITED STUDY

 Extremity Venous Studies (Including Digits)
 V72.83 is only applicable to 93970 and 93971 when coded with 585.6 or 585.9 Chronic Renal
 Failure, as the secondary diagnosis. In 2006 must be coded to the fourth position.
  93965               NONINVASIVE PHYSIOLOGIC STUDIES OF EXTREMITY VEINS,
                      COMPLETE BILATERAL STUDY (EG, DOPPLER WAVEFORM
                      ANALYSIS WITH RESPONSES TO COMPRESSION AND OTHER
                      MANEUVERS, PHLEBORHEOGRAPHY, IMPEDANCE
                      PLETHYSMOGRAPHY)
  93970            DUPLEX SCAN OF EXTREMITY VEINS INCLUDING RESPONSES
                   TO COMPRESSION AND OTHER MANEUVERS; COMPLETE
                   BILATERAL STUDY
  93971            DUPLEX SCAN OF EXTREMITY VEINS INCLUDING RESPONSES
                   TO COMPRESSION AND OTHER MANEUVERS; UNILATERAL OR
                   LIMITED STUDY

 Visceral and Penile Vascular Studies
 93975               DUPLEX SCAN OF ARTERIAL INFLOW AND VENOUS OUTFLOW
                     OF ABDOMINAL, PELVIC, SCROTAL CONTENTS AND/OR
                     RETROPERITONEAL ORGANS; COMPLETE STUDY
  93976            DUPLEX SCAN OF ARTERIAL INFLOW AND VENOUS OUTFLOW
                   OF ABDOMINAL, PELVIC, SCROTAL CONTENTS AND/OR
                   RETROPERITONEAL ORGANS; LIMITED STUDY
  93978            DUPLEX SCAN OF AORTA, INFERIOR VENA CAVA, ILIAC
                   VASCULATURE, OR BYPASS GRAFTS; COMPLETE STUDY
  93979            DUPLEX SCAN OF AORTA, INFERIOR VENA CAVA, ILIAC
                   VASCULATURE, OR BYPASS GRAFTS; UNILATERAL OR
                   LIMITED STUDY
  93980

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                                 Coding Information
                    DUPLEX SCAN OF ARTERIAL INFLOW AND VENOUS OUTFLOW
                    OF PENILE VESSELS; COMPLETE STUDY
  93981             DUPLEX SCAN OF ARTERIAL INFLOW AND VENOUS OUTFLOW
                    OF PENILE VESSELS; FOLLOW-UP OR LIMITED STUDY

 Extremity Arterial-Venous Studies
  93990             DUPLEX SCAN OF HEMODIALYSIS ACCESS (INCLUDING
                    ARTERIAL INFLOW, BODY OF ACCESS AND VENOUS
                    OUTFLOW)




ICD-9 Codes that Support Medical Necessity
 Cerebrovascular Evaluation Indications
 342.00 - 342.92 FLACCID HEMIPLEGIA AND HEMIPARESIS AFFECTING
                   UNSPECIFIED SIDE - UNSPECIFIED HEMIPLEGIA AND
                   HEMIPARESIS AFFECTING NONDOMINANT SIDE
  344.00 - 344.5    QUADRIPLEGIA UNSPECIFIED - UNSPECIFIED MONOPLEGIA
  344.81 - 344.9    LOCKED-IN STATE - PARALYSIS UNSPECIFIED
  362.30 - 362.37   RETINAL VASCULAR OCCLUSION UNSPECIFIED - VENOUS
                    ENGORGEMENT OF RETINA
  362.84            RETINAL ISCHEMIA
  368.10            SUBJECTIVE VISUAL DISTURBANCE UNSPECIFIED
  368.11            SUDDEN VISUAL LOSS
  368.12            TRANSIENT VISUAL LOSS
  368.40 - 368.47   VISUAL FIELD DEFECT UNSPECIFIED - HETERONYMOUS
                    BILATERAL FIELD DEFECTS
  433.00 - 433.91   OCCLUSION AND STENOSIS OF BASILAR ARTERY WITHOUT
                    CEREBRAL INFARCTION - OCCLUSION AND STENOSIS OF
                    UNSPECIFIED PRECEREBRAL ARTERY WITH CEREBRAL
                    INFARCTION
  434.00 - 434.91   CEREBRAL THROMBOSIS WITHOUT CEREBRAL INFARCTION -
                    CEREBRAL ARTERY OCCLUSION UNSPECIFIED WITH
                    CEREBRAL INFARCTION
  435.0 - 435.9     BASILAR ARTERY SYNDROME - UNSPECIFIED TRANSIENT
                    CEREBRAL ISCHEMIA
  436               ACUTE BUT ILL-DEFINED CEREBROVASCULAR DISEASE
  437.0             CEREBRAL ATHEROSCLEROSIS


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                               Coding Information
  437.3             CEREBRAL ANEURYSM NONRUPTURED
  442.81            ANEURYSM OF ARTERY OF NECK
  442.82            ANEURYSM OF SUBCLAVIAN ARTERY
  446.0 - 446.7     POLYARTERITIS NODOSA - TAKAYASU'S DISEASE
  780.2             SYNCOPE AND COLLAPSE
  781.2             ABNORMALITY OF GAIT
  781.3             LACK OF COORDINATION
  781.4             TRANSIENT PARALYSIS OF LIMB
  782.0             DISTURBANCE OF SKIN SENSATION
  784.3             APHASIA
  784.5             OTHER SPEECH DISTURBANCE
  785.9             OTHER SYMPTOMS INVOLVING CARDIOVASCULAR SYSTEM
  900.00 - 900.9    INJURY TO CAROTID ARTERY UNSPECIFIED - INJURY TO
                    UNSPECIFIED BLOOD VESSEL OF HEAD AND NECK
  901.1             INJURY TO INNOMINATE AND SUBCLAVIAN ARTERIES
  996.1             MECHANICAL COMPLICATION OF OTHER VASCULAR DEVICE
                    IMPLANT AND GRAFT
  996.70 - 996.99   OTHER COMPLICATIONS DUE TO UNSPECIFIED DEVICE
                    IMPLANT AND GRAFT - COMPLICATION OF OTHER SPECIFIED
                    REATTACHED BODY PART
  998.0 - 998.9     POSTOPERATIVE SHOCK NOT ELSEWHERE CLASSIFIED -
                    UNSPECIFIED COMPLICATION OF PROCEDURE NOT
                    ELSEWHERE CLASSIFIED
  V67.00            FOLLOW-UP EXAMINATION FOLLOWING UNSPECIFIED
                    SURGERY

 Extremity Arterial Evaluation Indications
  250.70 - 250.73 DIABETES WITH PERIPHERAL CIRCULATORY DISORDERS,
                     TYPE II OR UNSPECIFIED TYPE, NOT STATED AS
                     UNCONTROLLED - DIABETES WITH PERIPHERAL
                     CIRCULATORY DISORDERS, TYPE I [JUVENILE TYPE],
                     UNCONTROLLED
  440.0             ATHEROSCLEROSIS OF AORTA
  440.21            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH INTERMITTENT CLAUDICATION
  440.22            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH REST PAIN

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                                Coding Information
  440.23            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH ULCERATION
  440.24            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH GANGRENE
  440.29            OTHER ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES
  440.30            ATHEROSCLEROSIS OF UNSPECIFIED BYPASS GRAFT OF THE
                    EXTREMITIES
  440.31            ATHEROSCLEROSIS OF AUTOLOGOUS VEIN BYPASS GRAFT OF
                    THE EXTREMITIES
  440.32            ATHEROSCLEROSIS OF NONAUTOLOGOUS BIOLOGICAL
                    BYPASS GRAFT OF THE EXTREMITIES
  442.0             ANEURYSM OF ARTERY OF UPPER EXTREMITY
  442.3             ANEURYSM OF ARTERY OF LOWER EXTREMITY
  443.0             RAYNAUD'S SYNDROME
  443.1             THROMBOANGIITIS OBLITERANS (BUERGER'S DISEASE)
  443.81            PERIPHERAL ANGIOPATHY IN DISEASES CLASSIFIED
                    ELSEWHERE
  443.89            OTHER PERIPHERAL VASCULAR DISEASE
  443.9             PERIPHERAL VASCULAR DISEASE UNSPECIFIED
  444.0             EMBOLISM AND THROMBOSIS OF ABDOMINAL AORTA
  444.1             EMBOLISM AND THROMBOSIS OF THORACIC AORTA
  444.21            ARTERIAL EMBOLISM AND THROMBOSIS OF UPPER
                    EXTREMITY
  444.22            ARTERIAL EMBOLISM AND THROMBOSIS OF LOWER
                    EXTREMITY
  444.81            EMBOLISM AND THROMBOSIS OF ILIAC ARTERY
  444.89            EMBOLISM AND THROMBOSIS OF OTHER ARTERY
  444.9             EMBOLISM AND THROMBOSIS OF UNSPECIFIED ARTERY
  447.0             ARTERIOVENOUS FISTULA ACQUIRED
  447.1             STRICTURE OF ARTERY
  447.2             RUPTURE OF ARTERY
  707.10 - 707.19   UNSPECIFIED ULCER OF LOWER LIMB - ULCER OF OTHER PART
                    OF LOWER LIMB
  707.8             CHRONIC ULCER OF OTHER SPECIFIED SITES

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                                   Coding Information
  785.4            GANGRENE
  903.00           INJURY TO AXILLARY VESSEL(S) UNSPECIFIED
  903.01           INJURY TO AXILLARY ARTERY
  903.02           INJURY TO AXILLARY VEIN
  903.1            INJURY TO BRACHIAL BLOOD VESSELS
  903.2            INJURY TO RADIAL BLOOD VESSELS
  903.3            INJURY TO ULNAR BLOOD VESSELS
  903.4            INJURY TO PALMAR ARTERY
  903.5            INJURY TO DIGITAL BLOOD VESSELS
  903.8            INJURY TO OTHER SPECIFIED BLOOD VESSELS OF UPPER
                   EXTREMITY
  903.9            INJURY TO UNSPECIFIED BLOOD VESSEL OF UPPER
                   EXTREMITY
  904.0            INJURY TO COMMON FEMORAL ARTERY
  904.1            INJURY TO SUPERFICIAL FEMORAL ARTERY
  904.2            INJURY TO FEMORAL VEINS
  904.3            INJURY TO SAPHENOUS VEINS
  904.40           INJURY TO POPLITEAL VESSEL(S) UNSPECIFIED
  904.41           INJURY TO POPLITEAL ARTERY
  904.42           INJURY TO POPLITEAL VEIN
  904.50           INJURY TO TIBIAL VESSEL(S) UNSPECIFIED
  904.51           INJURY TO ANTERIOR TIBIAL ARTERY
  904.52           INJURY TO ANTERIOR TIBIAL VEIN
  904.53           INJURY TO POSTERIOR TIBIAL ARTERY
  904.54           INJURY TO POSTERIOR TIBIAL VEIN
  904.6            INJURY TO DEEP PLANTAR BLOOD VESSELS
  904.7            INJURY TO OTHER SPECIFIED BLOOD VESSELS OF LOWER
                   EXTREMITY
  904.8            INJURY TO UNSPECIFIED BLOOD VESSEL OF LOWER
                   EXTREMITY
  904.9            INJURY TO BLOOD VESSELS OF UNSPECIFIED SITE
  996.1            MECHANICAL COMPLICATION OF OTHER VASCULAR DEVICE
                   IMPLANT AND GRAFT

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                               Coding Information
  996.70 - 996.99   OTHER COMPLICATIONS DUE TO UNSPECIFIED DEVICE
                    IMPLANT AND GRAFT - COMPLICATION OF OTHER SPECIFIED
                    REATTACHED BODY PART
  997.2             PERIPHERAL VASCULAR COMPLICATIONS NOT ELSEWHERE
                    CLASSIFIED
  998.11 - 998.13   HEMORRHAGE COMPLICATING A PROCEDURE - SEROMA
                    COMPLICATING A PROCEDURE
  998.2             ACCIDENTAL PUNCTURE OR LACERATION DURING A
                    PROCEDURE NOT ELSEWHERE CLASSIFIED
  V67.00            FOLLOW-UP EXAMINATION FOLLOWING UNSPECIFIED
                    SURGERY

 Extremity Venous Evaluation Indications
  415.11           IATROGENIC PULMONARY EMBOLISM AND INFARCTION
  415.19            OTHER PULMONARY EMBOLISM AND INFARCTION
  451.0 - 451.9     PHLEBITIS AND THROMBOPHLEBITIS OF SUPERFICIAL
                    VESSELS OF LOWER EXTREMITIES - PHLEBITIS AND
                    THROMBOPHLEBITIS OF UNSPECIFIED SITE
  454.0             VARICOSE VEINS OF LOWER EXTREMITIES WITH ULCER
  454.1             VARICOSE VEINS OF LOWER EXTREMITIES WITH
                    INFLAMMATION
  454.2             VARICOSE VEINS OF LOWER EXTREMITIES WITH ULCER AND
                    INFLAMMATION
  459.10 - 459.19   POSTPHLEBETIC SYNDROME WITHOUT COMPLICATIONS -
                    POSTPHLEBETIC SYNDROME WITH OTHER COMPLICATION
  459.2             COMPRESSION OF VEIN
  671.00 - 671.94   VARICOSE VEINS OF LEGS COMPLICATING PREGNANCY AND
                    THE PUERPERIUM UNSPECIFIED AS TO EPISODE OF CARE -
                    UNSPECIFIED POSTPARTUM VENOUS COMPLICATION
  695.9             UNSPECIFIED ERYTHEMATOUS CONDITION
  707.10            UNSPECIFIED ULCER OF LOWER LIMB
  729.5             PAIN IN LIMB
  729.81            SWELLING OF LIMB
  747.60            ANOMALY OF THE PERIPHERAL VASCULAR SYSTEM
                    UNSPECIFIED SITE
  747.61            GASTROINTESTINAL VESSEL ANOMALY
  747.62            RENAL VESSEL ANOMALY


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                               Coding Information
  747.63           UPPER LIMB VESSEL ANOMALY
  747.64           LOWER LIMB VESSEL ANOMALY
  747.69           ANOMALIES OF OTHER SPECIFIED SITES OF PERIPHERAL
                   VASCULAR SYSTEM
  782.2            LOCALIZED SUPERFICIAL SWELLING MASS OR LUMP
  782.3            EDEMA
  785.4            GANGRENE
  786.00           RESPIRATORY ABNORMALITY UNSPECIFIED
  786.09           RESPIRATORY ABNORMALITY OTHER
  786.3            HEMOPTYSIS
  786.52           PAINFUL RESPIRATION
  786.59           OTHER CHEST PAIN
  794.2            NONSPECIFIC ABNORMAL RESULTS OF FUNCTION STUDY OF
                   PULMONARY SYSTEM
  903.00 - 903.9   INJURY TO AXILLARY VESSEL(S) UNSPECIFIED - INJURY TO
                   UNSPECIFIED BLOOD VESSEL OF UPPER EXTREMITY
  904.0 - 904.9    INJURY TO COMMON FEMORAL ARTERY - INJURY TO BLOOD
                   VESSELS OF UNSPECIFIED SITE
  996.1            MECHANICAL COMPLICATION OF OTHER VASCULAR DEVICE
                   IMPLANT AND GRAFT
  996.70           OTHER COMPLICATIONS DUE TO UNSPECIFIED DEVICE
                   IMPLANT AND GRAFT
  996.71           OTHER COMPLICATIONS DUE TO HEART VALVE PROSTHESIS
  996.72           OTHER COMPLICATIONS DUE TO OTHER CARDIAC DEVICE
                   IMPLANT AND GRAFT
  996.73           OTHER COMPLICATIONS DUE TO RENAL DIALYSIS DEVICE
                   IMPLANT AND GRAFT
  996.74           OTHER COMPLICATIONS DUE TO OTHER VASCULAR DEVICE
                   IMPLANT AND GRAFT
  996.75           OTHER COMPLICATIONS DUE TO NERVOUS SYSTEM DEVICE
                   IMPLANT AND GRAFT
  996.76           OTHER COMPLICATIONS DUE TO GENITOURINARY DEVICE
                   IMPLANT AND GRAFT
  996.77           OTHER COMPLICATIONS DUE TO INTERNAL JOINT PROSTHESIS
  996.78


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                               Coding Information
                    OTHER COMPLICATIONS DUE TO OTHER INTERNAL
                    ORTHOPEDIC DEVICE IMPLANT AND GRAFT
  996.79            OTHER COMPLICATIONS DUE TO OTHER INTERNAL
                    PROSTHETIC DEVICE IMPLANT AND GRAFT
  997.2             PERIPHERAL VASCULAR COMPLICATIONS NOT ELSEWHERE
                    CLASSIFIED
  998.2             ACCIDENTAL PUNCTURE OR LACERATION DURING A
                    PROCEDURE NOT ELSEWHERE CLASSIFIED
  999.2             OTHER VASCULAR COMPLICATIONS OF MEDICAL CARE NOT
                    ELSEWHERE CLASSIFIED
  V12.51            PERSONAL HISTORY OF VENOUS THROMBOSIS AND
                    EMBOLISM
  V12.52            PERSONAL HISTORY OF THROMBOPHLEBITIS
  V67.00            FOLLOW-UP EXAMINATION FOLLOWING UNSPECIFIED
                    SURGERY
  V72.83*           OTHER SPECIFIED PRE-OPERATIVE EXAMINATION
  V72.83 is only applicable to 93970 and 93971 when coded with 585.6 or 585.9 Chronic Renal
  Failure, as the secondary diagnosis. In 2006 must be coded to the fourth position

 Visceral and Penile Vascular Studies
 401.0               MALIGNANT ESSENTIAL HYPERTENSION
  401.1             BENIGN ESSENTIAL HYPERTENSION
  401.9             UNSPECIFIED ESSENTIAL HYPERTENSION
  402.00            MALIGNANT HYPERTENSIVE HEART DISEASE WITHOUT
                    HEART FAILURE
  402.01            MALIGNANT HYPERTENSIVE HEART DISEASE WITH HEART
                    FAILURE
  402.10            BENIGN HYPERTENSIVE HEART DISEASE WITHOUT HEART
                    FAILURE
  402.11            BENIGN HYPERTENSIVE HEART DISEASE WITH HEART
                    FAILURE
  402.90            UNSPECIFIED HYPERTENSIVE HEART DISEASE WITHOUT
                    HEART FAILURE
  402.91            UNSPECIFIED HYPERTENSIVE HEART DISEASE WITH HEART
                    FAILURE
  403.00 - 403.01   HYPERTENSIVE CHRONIC KIDNEY DISEASE, MALIGNANT,
                    WITH CHRONIC KIDNEY DISEASE STAGE I THROUGH STAGE IV,
                    OR UNSPECIFIED - HYPERTENSIVE CHRONIC KIDNEY DISEASE,

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                                Coding Information
                    MALIGNANT, WITH CHRONIC KIDNEY DISEASE STAGE V OR
                    END STAGE RENAL DISEASE
  403.10 - 403.11   HYPERTENSIVE CHRONIC KIDNEY DISEASE, BENIGN, WITH
                    CHRONIC KIDNEY DISEASE STAGE I THROUGH STAGE IV, OR
                    UNSPECIFIED - HYPERTENSIVE CHRONIC KIDNEY DISEASE,
                    BENIGN, WITH CHRONIC KIDNEY DISEASE STAGE V OR END
                    STAGE RENAL DISEASE
  403.90 - 403.91   HYPERTENSIVE CHRONIC KIDNEY DISEASE, UNSPECIFIED,
                    WITH CHRONIC KIDNEY DISEASE STAGE I THROUGH STAGE IV,
                    OR UNSPECIFIED - HYPERTENSIVE CHRONIC KIDNEY DISEASE,
                    UNSPECIFIED, WITH CHRONIC KIDNEY DISEASE STAGE V OR
                    END STAGE RENAL DISEASE
  404.00 - 404.93   HYPERTENSIVE HEART AND CHRONIC KIDNEY DISEASE,
                    MALIGNANT, WITHOUT HEART FAILURE AND WITH CHRONIC
                    KIDNEY DISEASE STAGE I THROUGH STAGE IV, OR
                    UNSPECIFIED - HYPERTENSIVE HEART AND CHRONIC KIDNEY
                    DISEASE, UNSPECIFIED, WITH HEART FAILURE AND CHRONIC
                    KIDNEY DISEASE STAGE V OR END STAGE RENAL DISEASE
  405.01            MALIGNANT RENOVASCULAR HYPERTENSION
  405.09            OTHER MALIGNANT SECONDARY HYPERTENSION
  405.11            BENIGN RENOVASCULAR HYPERTENSION
  405.19            OTHER BENIGN SECONDARY HYPERTENSION
  405.91            UNSPECIFIED RENOVASCULAR HYPERTENSION
  405.99            OTHER UNSPECIFIED SECONDARY HYPERTENSION
  440.0             ATHEROSCLEROSIS OF AORTA
  440.1             ATHEROSCLEROSIS OF RENAL ARTERY
  440.20            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES UNSPECIFIED
  440.21            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH INTERMITTENT CLAUDICATION
  440.22            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH REST PAIN
  440.23            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH ULCERATION
  440.24            ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES WITH GANGRENE
  440.29            OTHER ATHEROSCLEROSIS OF NATIVE ARTERIES OF THE
                    EXTREMITIES


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                               Coding Information
  440.30           ATHEROSCLEROSIS OF UNSPECIFIED BYPASS GRAFT OF THE
                   EXTREMITIES
  440.31           ATHEROSCLEROSIS OF AUTOLOGOUS VEIN BYPASS GRAFT OF
                   THE EXTREMITIES
  440.32           ATHEROSCLEROSIS OF NONAUTOLOGOUS BIOLOGICAL
                   BYPASS GRAFT OF THE EXTREMITIES
  440.8            ATHEROSCLEROSIS OF OTHER SPECIFIED ARTERIES
  440.9            GENERALIZED AND UNSPECIFIED ATHEROSCLEROSIS
  441.00 - 441.9   DISSECTION OF AORTA ANEURYSM UNSPECIFIED SITE -
                   AORTIC ANEURYSM OF UNSPECIFIED SITE WITHOUT RUPTURE
  442.0 - 442.9    ANEURYSM OF ARTERY OF UPPER EXTREMITY - OTHER
                   ANEURYSM OF UNSPECIFIED SITE
  443.0            RAYNAUD'S SYNDROME
  443.1            THROMBOANGIITIS OBLITERANS (BUERGER'S DISEASE)
  443.81           PERIPHERAL ANGIOPATHY IN DISEASES CLASSIFIED
                   ELSEWHERE
  443.89           OTHER PERIPHERAL VASCULAR DISEASE
  443.9            PERIPHERAL VASCULAR DISEASE UNSPECIFIED
  444.0            EMBOLISM AND THROMBOSIS OF ABDOMINAL AORTA
  444.1            EMBOLISM AND THROMBOSIS OF THORACIC AORTA
  444.21           ARTERIAL EMBOLISM AND THROMBOSIS OF UPPER
                   EXTREMITY
  444.22           ARTERIAL EMBOLISM AND THROMBOSIS OF LOWER
                   EXTREMITY
  444.81           EMBOLISM AND THROMBOSIS OF ILIAC ARTERY
  444.89           EMBOLISM AND THROMBOSIS OF OTHER ARTERY
  444.9            EMBOLISM AND THROMBOSIS OF UNSPECIFIED ARTERY
  447.0            ARTERIOVENOUS FISTULA ACQUIRED
  447.1            STRICTURE OF ARTERY
  447.2            RUPTURE OF ARTERY
  447.3            HYPERPLASIA OF RENAL ARTERY
  447.4            CELIAC ARTERY COMPRESSION SYNDROME
  447.5            NECROSIS OF ARTERY
  447.6            ARTERITIS UNSPECIFIED


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                                Coding Information
  447.8             OTHER SPECIFIED DISORDERS OF ARTERIES AND ARTERIOLES
  447.9             UNSPECIFIED DISORDERS OF ARTERIES AND ARTERIOLES
  557.0             ACUTE VASCULAR INSUFFICIENCY OF INTESTINE
  607.82            VASCULAR DISORDERS OF PENIS
  607.84            IMPOTENCE OF ORGANIC ORIGIN
  607.89            OTHER SPECIFIED DISORDERS OF PENIS

 Extremity Arterial-Venous Studies
  996.73            OTHER COMPLICATIONS DUE TO RENAL DIALYSIS DEVICE
                    IMPLANT AND GRAFT




Diagnoses that Support Medical Necessity



ICD-9 Codes that DO NOT Support Medical Necessity




ICD-9 Codes that DO NOT Support Medical Necessity Asterisk Explanation



Diagnoses that DO NOT Support Medical Necessity




                                     General Information




Documentation Requirements
If documentation is requested to support medical necessity, submit:


    • History and Physical



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                                      General Information
    • M.D. orders/progress notes

    • Diagnosis/ Reason for testing

    • Test results

    • Itemization of charges




Appendices



Utilization Guidelines



Sources of Information and Basis for Decision
Carrier Policy


Advisory Committee Meeting Notes
This policy does not reflect the sole opinion of the contractor or contractor medical director.
Although the final decision rests with the contractor, this policy was developed in cooperation
with advisory groups, which includes representatives from appropriate specialties as well as
provider (facility) representatives.


Start Date of Comment Period



End Date of Comment Period



Start Date of Notice Period
11/27/1996


Revision History Number
1352b



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                                     General Information
Revision History Explanation
01/06/2006 Added to Group 4 V72.83 is only applicable to 93970 and 93971 when coded with
585.6 or 585.9 Chronic Renal Failure, as the secondary diagnosis. In 2006 must be coded to the
fourth position

07/24/2003 ICD-9 Code 459.1 under CPT code 93971, updated to meet 5th digit requirement for
2003 [459.10, 459.11, 459.12, 459.13, 459.19].

07/10/2003 ICD-9 code V72.83 was added to the list of ICD-9 Codes that Support Medical
Necessity for CPT codes 93970 and 93971

01/10/2003 Added 12x to Type of Bill Code

07/24/2002 Formatted

11/13/2000 checked ICD-9 Codes & CPT Codes by 2001 Code Books

09/04/2004 - This policy was updated by the ICD-9 Code Annual Update for 2004-2005.

09/04/2005 - This policy was updated by the ICD-9 2005-2006 Annual Update.

This LCD was converted from an LMRP on 12/6/2005

7/2/2006 - The description for Bill code 14 was changed

09/04/2006 - This policy was updated by the ICD-9 2006-2007 Annual Update.

11/18/2006 - The description for CPT/HCPCS code 93875 was changed in group 2
11/18/2006 - The description for CPT/HCPCS code 93922 was changed in group 3
11/18/2006 - The description for CPT/HCPCS code 93923 was changed in group 3
11/18/2006 - The description for CPT/HCPCS code 93924 was changed in group 3
11/18/2006 - The description for CPT/HCPCS code 93965 was changed in group 4

10/05/2007 - Frequently Asked Questions restored to Appendices.

2/18/2008 - The description for Bill code 21 was changed

3/20/2008 - Frequently Asked Questions removed from Appendices

08/10/2008 - This policy was updated by the ICD-9 2008-2009 Annual Update.

08/26/2008 – The state of New Jersey removed from the Primary Geographic Jurisdiction as
required by the MAC-PartA/PartB contractor workload number 12401

07/02/2009 – Annual review with no changes

08/02/2009 - In accordance with Section 911 of the Medicare Modernization Act of 2003, this


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                                       General Information
policy was retired due to the transition from FI Riverbend GBA (00390) to MAC - Part A
Cahaba GBA (10301)


Reason for Change
Maintenance (annual review with new changes, formatting, etc.)

Last Reviewed On Date
07/02/2009


Related Documents
Article(s)
A37868 - Noninvasive Vascular Studies


LCD Attachments
FAQ (a comment and response document) (1,674 bytes)



                                        All Versions




Updated on 08/02/2009 with effective dates 09/01/2008 - 08/02/2009
Updated on 08/26/2008 with effective dates 09/01/2008 - N/A
Updated on 03/20/2008 with effective dates 12/07/2005 - 08/31/2008
Updated on 02/18/2008 with effective dates 12/07/2005 - N/A
Updated on 10/05/2007 with effective dates 12/07/2005 - N/A
Updated on 11/18/2006 with effective dates 12/07/2005 - N/A
Updated on 09/22/2006 with effective dates 12/07/2005 - N/A
Updated on 09/04/2006 with effective dates 12/07/2005 - N/A
Updated on 09/01/2006 with effective dates 12/07/2005 - N/A
Updated on 07/02/2006 with effective dates 12/07/2005 - N/A
Updated on 02/08/2006 with effective dates 12/07/2005 - N/A
Updated on 02/08/2006 with effective dates 12/07/2005 - N/A
Updated on 01/10/2006 with effective dates 12/07/2005 - N/A


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                                        All Versions
Updated on 12/06/2005 with effective dates 12/07/2005 - N/A
Updated on 12/06/2005 with effective dates 12/07/2005 - N/A
Updated on 12/06/2005 with effective dates 07/24/2003 - 12/06/2005
Updated on 10/10/2003 with effective dates 07/24/2003 - N/A
Updated on 10/08/2003 with effective dates 07/24/2003 - N/A
Updated on 07/23/2003 with effective dates 07/24/2003 - N/A
Updated on 07/10/2003 with effective dates 07/10/2003 - 07/23/2003
Updated on 03/11/2003 with effective dates 01/10/2003 - 07/09/2003
Updated on 02/15/2003 with effective dates 01/10/2003 - N/A
Updated on 01/09/2003 with effective dates 01/10/2003 - N/A
Updated on 12/18/2002 with effective dates 07/24/2002 - 01/09/2003
Updated on 10/21/2002 with effective dates 07/24/2002 - N/A
Updated on 10/04/2002 with effective dates 07/24/2002 - N/A




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                            Exhibit H




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Tennessee Department of Health: Health Care Facilities                                         Page 1 of 1



Health Care Facilities

Licensed Facilities
For more information, please contact:
Health Care Facilities: (615)741-7221 or 1-888-310-4650

Current Listings:

Type = Hospital County = DAVIDSON Name = Baptist Hospital

                                 Click here to return to the search page

Total Facilties:1                                                                      Total Beds:683

                                                                           Facility License
                                                                           Number: 00000032
                                    Administrator: BERNARD J.
1.                                                                         Status: Licensed
                                    SHERRY, CEO
BAPTIST HOSPITAL                                                           Number of Beds: 0683
                                    Owner Information:
2000 CHURCH STREET                                                         Date of Last
                                    SETON CORPORATION
NASHVILLE , TN 37236                                                       Survey: 05/06/2009
                                    2000 CHURCH ST.
Attn: BERNARD J. SHERRY,                                                   Accreditation
                                    NASHVILLE, TN 37236
CEO                                                                        Expires: 04/08/2014
                                    (615) 284-5555
(615) 284-6851                                                             Date of Original
                                                                           Licensure: 07/01/1992
                                                                           Date of Expiration: 04/30/2014




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http://health.state.tn.us/HCF/Facilities_Listings/CurrentResults.asp                            6/17/2013
                             Exhibit I




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Case 3:12-cv-00501 Document 34-1 Filed 06/18/13 Page 88 of 97 PageID #: 287
                             Exhibit J




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                            Exhibit K




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